Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 1 of 105




                                 UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF FLORIDA

                                                    CASE NO.

      GO       GLOBAL  TRADING                       &
      CONSULTING, LTD., a Hong                     Kong
      company,

                           Plaintiff

      vs.

      V1O GLOBAL LOGISTICS & TRADING
      CORP., a Florida corporation, SIDNEY DE
      ARAUJO JUNIOR, an individual, RAFAEL
      FEDELE, an individual, JOHN DOE
      1, JOHN DOE 2, and JOHN DOE 3,

                    Defendants.
      _____________________________________/


                                                 COMPLAINT

            Plaintiff, GO Global Trading & Consulting, Ltd. (“GO Global”), by and through its

  undersigned counsel, hereby sues Defendants V10 Global Logistics & Trading Corp., Sidney de

  Araujo Junior, Rafael Fedele, and John Does 1, 2 and 3 1 (Sidney de Araujo Junior and Rafael

  Fedele are, collectively, the “Individual Defendants”) (V10 and the Individual Defendants are,

  collectively, the “V10 Defendants”) (the V10 Defendants and John Does, 1, 2, and 3 are,

  collectively, the “Defendants”), and alleges as follows:

                                              INTRODUCTION

            1.       Sidney de Araujo Junior (“Junior”) and Rafael Fedele (“Fedele”) pose as legitimate

  businessmen, but they are not. They operate V10 Global Logistics & Trading Corp. (f/k/a V10



  1
   The identities of the John Doe defendants are currently unknown. GO Global will amend its Complaint upon
  ascertaining the identities.

                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129            FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 2 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 2

  Sports Car Corp.) (“V10”) with illegally-derived income and use V10 to commit illegal acts.

  Junior, Fedele, and V10 (referred to collectively as the “V10 Defendants”) are ostensibly

  automobile distributors, frozen meat distributors, or construction contractors, as the opportunities

  dictate, but their business operations are a ruse to steal. In this instance, the V10 Defendants took

  tens of millions of dollars from GO Global and its customers, through a fraudulent scheme

  designed to collect millions more. As discussed below, the V10 Defendants established a Ponzi-

  type scheme by which V10 collected payments from GO Global for the purchase of large quantities

  of frozen meats to be shipped in cargo containers from Brazil to GO Global’s customers in China.

  The scheme, as will be described in greater detail below, consisted of several deceptive

  components: First, V10 intentionally would sell GO Global quantities of products that were three

  or four times, or more, than the quantities that V10 would actually purchase from its suppliers,

  with no intention to ever provide GO Global the products that V10 had sold them and with no

  intention to return the payments GO Global had made. Second, V10 concocted a story that the

  company’s principal supplier was offering a discount for full payments (as opposed to deposits)

  prior to shipping, luring GO Global into making full payments for products that V10 never ordered

  and never shipped. Third, V10 accepted orders and deposits from GO Global that V10 never

  processed, retaining the deposits and delivering nothing in return. Fourth, V10 placed GO Global

  in the impossible situation of requiring deposits for new orders without completing the shipments

  of products for which GO Global had already paid, forcing GO Global into a perpetual obligation

  to continue paying money to V10 or to lose existing orders. Fifth, the V10 Defendants falsified

  documents, including but not limited to altered or phony container documents, shipping

  documents, delivery documents, and emails, to create the appearance that product was shipped

  when it was not. Establishing itself as a reliable vendor, V10, through the individual Defendants,


                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 3 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 3

  began the relationship with GO Global with successful transactions and fulfillments, until the V10

  Defendants had lured GO Global into a level of confidence. Thereafter, GO Global would proceed

  to pay V10 tens of millions of dollars for products GO Global would never receive or be able to

  deliver to its customers. As a result, GO Global found itself unable to complete orders for its

  customers and at V10’s mercy as V10 literally held GO Global’s products and finances for ransom.

  At the same time, the V10 Defendants would divert the proceeds of the frauds and deceptions to

  Junior, to Fedele, to their other endeavors, and, on information and belief, to the John Doe

  defendants. In short, the V10 Defendants engaged in an ongoing series of fraudulent acts causing

  devastating harm to GO Global. GO Global’s injuries consist not only of the financial damages

  resulting from lost orders and stolen payments, but the V10 Defendants have also destroyed GO

  Global’s business reputation and credibility with GO Global’s customers, suppliers, vendors, and

  government authorities. This is an action against the V10 Defendants for recovery of the amounts

  that they wrongfully took from GO Global, for consequential and punitive damages, and for

  additional relief as this Court deems appropriate.


                                PARTIES, JURISDICTION AND VENUE

           2.        GO Global is a Hong Kong company engaged in the business of frozen meat sales

  and distribution.

           3.        V10 is a Florida corporation, with its principal place of business in Fort Lauderdale,

  Florida. V10 holds itself out as an exporter of chicken, pork, and other food products.

           4.        Upon information and belief, Junior is a citizen of the State of Florida, and has

  resided within this judicial district at all times material to this action.

           5.        Upon information and belief, Fedele is a citizen of the State of Florida, and has

  resided within this judicial district at all times material to this action.

                                             Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                 3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129       FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 4 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 4

           6.        John Does 1, 2, and 3 are representatives of defendants, either individual or

  corporate, as yet unspecified, who are the participants in the fraudulent conveyances of V10,

  described hereinbelow.

           7.        This Court has diversity subject matter jurisdiction of this action pursuant to 28

  U.S.C. Section 133(a)(2) because the amount in controversy exceeds $75,000, exclusive of interest

  and costs, and the action is between citizens of a state and citizens or subjects of a foreign state

  who not lawfully admitted for permanent residence in the United States.

           8.        This Court also has federal question subject matter jurisdiction of this action

  pursuant to 28 U.S.C. Section 1331, as (a) this case includes claims arising under a treaty of the

  United States, in particular, the United Nations Convention on Contracts for the International Sale

  of Goods (“CISG”) and (b) this case includes claims arising under federal statutes, in particular,

  the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. Section 1961, et

  seq.

           9.        Further, this Court has supplemental jurisdiction over all state claims asserted

  herein pursuant to 28 U.S.C. Section 1367.

           10.       This Court has general personal jurisdiction over V10 because it is a Florida

  corporation that maintains its headquarters and principal place of business in Florida and in this

  judicial district.

           11.       This Court has specific personal jurisdiction over V10 because it has ongoing and

  continuing contacts within this jurisdiction, conducts its day-to-day business in this jurisdiction,

  the misconduct described herein was initiated and carried out in this jurisdiction, V10 has

  purposefully availed itself of the benefits and protections of the laws in this jurisdiction, and V10

  reasonably anticipates or should anticipate that it would be haled into court in this jurisdiction.


                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129     FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 5 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 5

           12.       This Court has general personal jurisdiction over Junior and Fedele as they reside

  in this judicial district and conduct substantial business in this judicial district.

           13.       This Court has specific personal jurisdiction over Junior and Fedele because (i) they

  have ongoing and continuing contacts within this jurisdiction, (ii) they conduct their day-to-day

  business in this jurisdiction, (iii) the misconduct described herein was initiated and carried out by

  Junior and Fedele in this jurisdiction, (iv) they have purposefully availed themselves of the benefits

  and protections of the laws in this jurisdiction, and (v) they reasonably anticipate or should

  anticipate that they would be haled into court in this jurisdiction.

           14.       The general and specific jurisdiction over each of the John Doe defendants shall be

  fully averred at the time that they are identified.

           15.       Pursuant to 28 U.S.C. Section 1391(b), venue is proper in this judicial district

  because V10’s principal place of business is in this judicial district; the V10 Defendants are subject

  to personal jurisdiction in this venue; and the events giving rise to the claims set forth in this

  Complaint substantially occurred in this judicial district.

                                 FACTS MATERIAL TO ALL CLAIMS

           16.       In or about August 2016, Junior formed a Florida corporation by the name of V10

  Sports Car Corp.

           17.       The sports car business apparently never materialized and in August 2018, Junior

  changed the name of the corporation to V10 Global Logistics and Trading Corp., although V10

  claims it still is a sponsor of sports car racing. The racing images still reside on the V10 website,

  a tribute to V10’s affection for the sport.

           18.       Recently, Junior formed two additional corporations - V10 Sports Cars Corp. and

  V10 Sports Cars Miami Corp.


                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129        FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 6 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 6

           19.       V10 vaunts its experience and expertise in the frozen meat distribution industry on

  its website as follows:

           Our 15 years of experience in the market enable us to be your strategic partner who
           knows how to navigate in ever-changing market conditions. We have a long-lasting
           relationship with a network of [the] most reputable protein suppliers in the industry
           and can always provide you [with the] highest quality product for your price range.

  https://v10logistics.com/about-us (as of April 3, 2022). V10 published this language

  approximately three years or less after changing from a car company to a logistics company.

           20.       V10 does not have 15 years of experience in the market.

           21.       V10 did not have a long-lasting relationship with a network of the most reputable

  protein suppliers. Nevertheless, V10 touted its purported experience and influence with suppliers

  as a means to induce companies such as GO Global to do business with it.

           22.       Notably, suppliers in the frozen meat industry customarily only do business with

  a limited number of companies. For example, one supplier, Cooperative Agroindustrial Consolata

  (“Copacol”), is a major world leader in producing frozen chicken parts and is a highly desirable

  source for companies such as GO Global as it provides the resources to deliver numerous

  containers to customers at destination ports. However, GO Global had no direct contact or ability

  to purchase from companies such as Copacol and resultingly required intermediary vendors that

  could provide it with that type of access.

           23.       GO Global purchases and resells frozen chicken and pork products worldwide both

  on its own behalf and in connection with various investors and participants. Generally, GO Global

  purchases multiple containers of these products for ultimate distribution to wholesalers and large-

  scale food operations. GO Global, at times material to this Complaint, sought to serve customers

  who were seeking to receive containers of frozen chicken and pork products in various ports in

  China and other locations.

                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129     FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 7 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 7

           24.       The process for purchasing and reselling is extremely complicated, involving

  customs compliance in multiple countries, careful food safety and preservation, large-scale

  shipping and logistical arrangements, careful tracking of shipping schedules, warehousing,

  distribution, financial precision, segregation of account information, and contract compliance.

           25.       GO Global, like others occupying the same position in the marketplace, cannot be

  at the source, destination, shipping locations and other logistical points in the complex large-scale

  meat distribution chain, and therefore must place substantial trust and reliance on suppliers and

  sellers in the industry.

           26.       In addition, V10, like its competitors, will sometimes conduct its business through

  brokers, who act for disclosed principals. In V10’s case, it often utilized an entity known as IMC

  Europe SP. Z.O.O. Sp.K. (“IMC”). IMC disclosed to GO Global, in all instances, when it was

  transacting business on behalf of V10 as the seller.

           27.       Beginning in approximately September 2020, V10, through Junior and Fedele, and

  through those V10 representatives whom Junior and Fedele authorized to speak on V10’s behalf,

  advised GO Global that V10, by virtue of its experience and marketplace influence, had a favorable

  relationship with Copacol and other suppliers, such as Cooperative Agroindustrial Lta.(C.Vale);

  Rivelli Alimentos, S.A. (Rivelli); Alibem Estrela, Ltda. (Alibem); La Piamontesa de Averaldo

  Giacosa Y Cia, S.A.; Campo Austral, SA; Alimantaria La Pompeya, S.A., Tutto Porky, S.S.r.L;

  and Frigorifico Qualita, S.A., and could obtain from those suppliers the container loads that GO

  Global needed for its customers and could arrange for them to be timely shipped to the required

  destination ports.

           28.       In fact, V10 was able to purchase from Copacol and other suppliers but had no

  special or favored relationship with those suppliers over any other customer of those suppliers.


                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129     FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 8 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 8

  V10 thus persuaded GO Global to commence doing business with it. Beginning in or about

  September 2020, GO Global commenced ordering frozen meat products from V10.

           29.       V10’s commercial relationship with GO Global was as a vendor. GO Global would

  order quantities of frozen meat parts, that V10 would acquire from suppliers. V10 was then

  obligated to coordinate the logistics for the shipments of those products so that the containers

  arrived in a timely manner at the destination ports that GO Global would designate. Thus, if GO

  Global, for example, had sought to purchase a certain quantity of containers of frozen chicken to

  be delivered to a particular port in China, it would contact V10 (or its agent, IMC) and advise V10

  of the order and the destination. V10 would invoice GO Global, which would pay the required

  deposit or purchase price. It would then be V10’s function to order the products from the supplier

  and to coordinate the shipping arrangements to get the product from origin to destination. V10

  would notify GO Global of these shipping arrangements.

           30.       Usually, the shipments required GO Global to pay a deposit of 30 percent of the

  purchase price, for which V10 would invoice GO Global, either directly or through its agent, IMC,

  after GO Global would place its order with V10. V10’s suppliers required V10 to pay a deposit as

  well, prior to processing the order. All orders were placed by email or other internet-based

  communication.

           31.       All V10 invoices were sent, either directly or through its agent, IMC, by email or

  by other internet-based communication.

           32.       Almost every communication between V10 and the Individual Defendants, on the

  one hand, and GO Global, on the other hand, were via WhatsApp, including both voice and text

  messaging, email, or other Internet-based communication.




                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 9 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 9

            33.      GO Global, of course, was not privy to nor involved in any way, with the

  interactions between V10 and the suppliers and GO Global had no means of verifying anything

  that V10 communicated to GO Global concerning the actions that the suppliers were taking or the

  conditions that the suppliers might be imposing on any purchasers.

            34.      Initially, in its dealings with V10, GO Global’s orders were smaller than they would

  later become. There were problems with some of these initial orders, including orders that were

  placed with incorrect consignees designated (i.e., the orders did not reflect the identity of the

  correct GO Global customer to receive the products). V10 falsely blamed the suppliers for these

  errors.

            35.      From the outset of the relationship with V10, GO Global also experienced

  difficulties with V10 as shipment dates that V10 had promised were not met.

            36.      These early problems were mostly resolved or tolerable and GO Global developed

  a trust in V10 as V10 appeared generally to be complying with its obligations, with shipments

  usually arriving at their required destinations and transactions generally occurring as agreed or

  reasonably close thereto in the vast majority of instances. On occasion, GO Global would

  experience a delay or problem with a shipment but there was no reason at that time to suspect

  improprieties or intentional misconduct.

            37.      GO Global’s confidence and belief that V10 was a legitimate and competent vendor

  grew over time and the quantities that GO Global’s order increased substantially.

            38.       In order to initiate its purchases with V10, GO Global would submit a purchase

  order or a purchase contract either directly to V10 or through IMC, which acted on behalf of V10

  and at V10’s direction. These purchase orders typically took the form of emails in which GO

  Global would confirm the quantities and types of products it was purchasing.


                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129      FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 10 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 10

           39.       From September 2020 through mid-2021, GO Global placed thousands of such

  orders. Of these orders, V10 failed, refused, and/or could not, due to its frauds and misconduct,

  complete the shipment of approximately 2,060 orders. Accordingly, it is not feasible to attach to

  this Complaint all orders, invoices, and related transactional documents. Attached instead as

  Exhibit “1” to this Complaint is a detailed spreadsheet setting forth, in summary fashion, the order

  dates, the invoice dates, quantities, containers, prices, promised delivery dates, and other relevant

  details of the transactions.2

           40.       Once V10 received the purchase orders or contracts, it submitted invoices or caused

  invoices to be submitted to GO Global.

           41.       As stated above, in the ordinary course, V10 would require a 30 percent deposit of

  the full price prior to shipping, with the balance due upon completion of the shipment. However,

  beginning in or about December 2020, V10, through the direction of the Individual Defendants,

  made repeated false representations to GO Global by email, WhatsApp, telephone and other wire

  services, that it could secure significant reductions in the price of products through Copacol.

  Specifically, V10 represented that Copacol was offering V10 reduced prices for full advance

  payment and V10 was thus able to offer the discounts in turn to GO Global. The purported

  discounts varied each month according to the Individual Defendants’ representations.

           42.       Unbeknownst to GO Global, Copacol had made no such arrangements with V10.

  V10, through the Individual Defendants, was simply perpetuating a scheme to obtain large

  payments from GO Global for shipments that V10 would never complete.




  2
   This spreadsheet is attached to the filed copy of this Complaint as a “pdf” document. It will be produced to Defendants
  or their counsel as an Excel spreadsheet which includes additional columns (not shown on the pdf in order to enable
  essential columns to fit within the pdf format).

                                                Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                    3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129               FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 11 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 11

           43.       Incentivized by this proposed discount, and having developed a trust in V10, GO

  Global was interested in placing additional orders with V10. In order to fund the increased amounts

  necessary to make full payments in advance, GO Global located investors, who would assist GO

  Global in funding the purchases, in exchange for a share of the profit to be realized from the

  discounted pricing.

           44.       GO Global would confirm with V10 or its agent each shipment and the details

  relating thereto, including the shipping line, the goods and quantities to be delivered, the estimated

  arrival date at destination, balance of payment due (if any), and other important terms.

           45.       From the outset of the relationship with V10, and with ever increasing frequency,

  GO Global experienced difficulties with V10 as shipment dates that V10 had promised were not

  met. V10, through the Individual Defendants, and a V10 employee named Carolina Camargo and

  others, would offer GO Global different excuses with these delays, but GO Global would

  ultimately learn of the following fraudulent acts (and variations or combinations thereof) that were

  occurring:

                     a. V10, through the Individual Defendants, or through others acting at the direction

  of the Individual Defendants, would encourage GO Global to place large orders, assuring that the

  orders could and would be placed and shipped in a timely manner. Accordingly, GO Global would

  place large orders and V10 would invoice GO Global for the full orders, requiring a 30 percent

  deposit from GO Global. However, V10 would only place a small fraction of the order with its

  suppliers and pay only a fractional deposit with its suppliers, or would place no order at all with

  the suppliers. As a result, the full shipments never occurred, and the V10 Defendants knew the full

  shipments would not and could not occur since they had never ordered them. Then, when GO

  Global would inquire about the shipments and urge V10 to resolve the delays, V10’s


                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129      FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 12 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 12

  representatives, at the direction of the Individual Defendants, would lie to GO Global about the

  status of the shipments and the reasons for the delays. In the case of CVale (one of the suppliers),

  for example, GO Global had ordered and paid for 120 containers through V10, with only 5 of those

  containers actually arriving. These lies are memorialized in numerous WhatsApp and WeChat

  messenger texts and voice messages.

                     b. V10 had paid its suppliers deposits for some of the orders it had placed on behalf

  of GO Global to create an appearance that orders were being processed. However, as set forth

  above, those orders were either (1) smaller in quantity than the amounts GO Global had actually

  ordered from V10, (2) were not fully paid by V10 even though GO Global had fully paid, or (3)

  were otherwise inconsistent with GO Global’s orders. Accordingly, V10, at the direction of the

  Individual Defendants, did not and would not complete the purchases with its suppliers, which

  completion would have required V10 to pay the unpaid balances on the shipments. As a

  consequence, the suppliers, not having received the payment they were due, would either resell the

  cargo, causing GO Global the forfeiture of the goods and the costs they had incurred for those

  products, or GO Global or its customers would incur additional purchase costs and substantial

  demurrage costs in their efforts to secure the release of those products.

                     c. By the second quarter of 2021, there were severe delays of shipments and/or

  non-shipment of products ordered by GO Global. Notwithstanding the fact that V10 had collected

  the required payments for all these shipments, whether deposits or payments in full, the V10

  Defendants refused to ship the products unless and until GO Global paid deposits on new orders

  that GO Global had placed. Under its agreements with GO Global, V10 was required to ship all

  orders for which GO Global had paid the agreed upon 30 percent deposit upon payment of that

  deposit. But V10, at the direction of the Individual Defendants, had not done so for many of the


                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129       FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 13 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 13

  orders placed in January through May 2021. GO Global, of course, was unaware of the fact that

  V10 had not fulfilled GO Global’s cargo, and Junior and Fedele, along with V10 personnel acting

  at the direction of Junior and Fedele, had previously, frequently, and falsely represented to GO

  Global that this cargo had shipped and/or that all shipping scheduling and commitments had been

  completed. Thus, in the summer of 2021, V10 informed GO Global that it either had to pay

  additional deposits on newly placed orders or give up the orders that GO Global had previously

  placed and paid for. Under these demands and in a desperate hope that V10 would cause the older

  cargo to be shipped and released, GO Global did pay additional deposits to V10, but the V10

  Defendants simply seized the additional funds without releasing or shipping any cargo.

                     d. In 2020 and early 2021, GO Global placed orders with V10 for frozen pork

  products. V10 failed to place these orders with pork suppliers, and as a consequence, the products

  did not ship. GO Global was not aware that V10 had failed to place the orders with suppliers; GO

  Global was simply aware that the products had not yet shipped yet. Meanwhile, the pork market

  “crashed,” and pork prices dropped drastically in China. This placed GO Global in a precarious

  position with its customers, who, already upset with the protracted delays, were unwilling to pay

  the previous, higher prices for products they had not received, that had not shipped, and that could

  now be purchased for substantially lower prices. Accordingly, GO Global renegotiated pork prices

  with V10 for the placed orders, and V10 agreed to provide credit notes, thus reducing the purchase

  price for the pork products in certain instances. V10 then placed some of the orders. However, V10

  subsequently advised GO Global that there was no discount and the full price, with no discount or

  credit note reduction, had to be paid if the cargo was to be released. V10 thus required an additional

  payment from GO Global of approximately $3.8 million. As the goods had been shipped and were

  waiting in port, GO Global had no choice but to pay the amount demanded or the goods would not


                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 14 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 14

  be released for delivery to GO Global’s customers. Meanwhile, V10, through the Individual

  Defendants, disparaged GO Global, representing to suppliers and other vendors in the industry that

  GO Global had “short paid” V10.

                     e. V10, at the direction of the Individual Defendants, falsified container

  documents, shipping documents, delivery documents, and emails from its suppliers, and provided

  these false documents to GO Global to cause GO Global to believe that orders had been made,

  shipments were underway, and that circumstances with V10, its suppliers, shippers, and others

  were as the V10 Defendants were falsely depicting to GO Global. The V10 Defendants used

  emails, phone calls and texts to wire this false and fraudulent information to GO Global in order

  to perpetuate their scheme. Examples of these falsified documents are attached hereto as

  Composite Exhibit “2.”

                     f. GO Global paid and/or caused to be paid all invoices for all deposits and/or

  payments in full to V10, as required and agreed. The total amount that V10 was paid for products

  that it never delivered is in excess of $48 million.

           46.       In addition, in the same manner as described hereinabove, GO Global coordinated

  millions of dollars of additional orders with the V10 Defendants on behalf of other investors, which

  orders V10 also falsely and fraudulently mishandled.

           47.       In August 2021, GO Global learned the extent of the V10 Defendants’ frauds and

  lies.

           48.       In or about August 2021, GO Global learned that Copacol had never offered V10

  reduced prices in exchange for full payments.

           49.       In or about August 2021, GO Global learned that Defendants had falsified

 documents in an effort to mislead GO Global and obtain continued payments from GO Global.


                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129   FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 15 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 15

           50.       In or about August 2021, GO Global learned that V10 had not paid its suppliers

 from the deposits and payments that GO Global had made to V10 and that shipments were therefore

 getting resold and delivered goods were incurring ongoing and severe demurrage charges.

           51.       V10 has acknowledged its relationship with, and responsibility and obligations to

  GO Global and has represented that V10 would return all deposits paid to GO Global.

           52.       V10 has not returned any money to GO Global or to its customers.

           53.       V10 has not delivered any of the products that are the subject of this action.

           54.       Following the non-delivery of the products, all pending contracts and orders were

  cancelled.

           55.       Despite V10’s written assurances to GO Global that it would return GO Global’s

  payments and deposits for shipments that weren’t delivered, V10 has failed and refused to do so.

           56.       The V10 Defendants did not organize V10 as a business to sell and ship meats

  lawfully and in accordance with commercial standards, good faith, and fair dealing. They

  organized V10 to obtain, under false pretenses, large sums of money that buyers such as GO Global

  pay in good faith, with no intention on V10’s part to honor its contractual obligations.

           57.       The V10 Defendants have engaged in a continuing scheme, utilizing emails, text

  messages, and other wire fraud, to induce GO Global to pay V10 in excess of $40 million.

           58.       In the course of these wrongful activities, and as a means of perpetuating their

  scheme, the V10 Defendants generated false documents, including false bills of lading and

  shipping schedules.

           59.       In December 2021, the Ministry of Commerce in China alerted domestic importers

  of Brazilian-sourced frozen meat products of a Ponzi-type scheme in which V10 had defaulted on

  contracts with more than 43 different Chinese importers since July 2021.


                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129       FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 16 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 16

             60.     GO Global has retained the undersigned counsel to represent it in connection with

  its efforts to recover the damages that the V10 Defendants have caused and have agreed to pay its

  counsel the reasonable attorney’s fees and costs incurred in the course of these efforts.


                                                     COUNT I
                                               BREACH OF CONTRACT
                                                   (Against V10)

             61.           GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

             62.           On or about December 2, 2020, GO Global negotiated the terms of an agreement

  with V10 through emails and telephone conversations.

             63.           In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit the invoices bearing the numbers 21/11/2020-4;

  11/12/2020-25; 11/12/2020-24; 12/12/2020-2; 403816; 403817; 403824; 403826; 403827;

  403832; 403837; 403838; 403839; 403842; and 403880.3

             64.           Pursuant to the invoices and parties’ agreement, under said invoices, GO Global

  was required to pay and did pay a total of $194,837.28, with any remaining balance to be paid

  upon arrival of the goods at destination.

             65.           GO Global did in fact pay all deposits and payments required under the above

  described Contract.

             66.           V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.



  3
      See Paragraph 40, supra.

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 17 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 17

           67.             In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.

           68.             V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.

           69.             GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.

           70.             Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:

                     a. Refused to perform its obligations under the Contract;

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;

                     d. Cancelled or refused to honor the Contractsand refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.

           71.             V10’s acts were improper and not permitted under the terms of the Contracts or

  general principles of contract law.




                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 18 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 18

           72.             V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.

           73.             As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.

           WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.

                                                    COUNT II
                                               BREACH OF CONTRACT
                                                   (Against V10)

           74.             GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

           75.             On or about January 16, 2021, GO Global negotiated the terms of an agreement

  with V10 through emails and telephone conversations.

           76.             In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit the invoices bearing the numbers 22/01/2021-26;

  22/01/2021-2; 22/01/2021-17; 22/01/2021-29; 22/01/2021-18; 22/01/2021-20; 22/01/2021-1;

  22/01/2021-27; 22/01/2021-23; 22/01/2021-24; 22/01/2021-21; 22/01/2021-25; 22/01/2021-30;

  22/01/2021-16; 22/01/2021-19; 22/01/2021-22; 22/01/2021-8; 22/01/2021-28; 24/01/2021-77;


                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 19 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 19

  24/01/2021-80; 24/01/2021-51; 24/01/2021-81; 24/01/2021-82; 24/01/2021-79; 24/01/2021-49;

  24/01/2021-23; 24/01/2021-65; 24/01/2021-72; 24/01/2021-76; 24/01/2021-83; 24/01/2021-78;

  24/01/2021-55; 24/01/2021-56; 24/01/2021-54; 24/01/2021-59; 24/01/2021-57; 24/01/2021-50;

  24/01/2021-58; 24/01/2021-53; 24/01/2021-43; 24/01/2021-61; 24/01/2021-69; 24/01/2021-60;

  24/01/2021-47; 24/01/2021-62; 3445366; 3445368; 3445369; 3445371; 3445377; 3445387;

  3445388; 3445389; 3445390; 3445391; 3445408; 3445409; 404155; 404167; 404180; 404181;

  404182; 404183; 404184; 404185; 404191; 404192; 404193; 404194; 404195; 404196; 404197;

  404201; 404202; 404203; 404205; 404206; 404207; 404208; 404209; 404210; 404211; 404212;

  404213; 404214; 404216; 404217; 404218; 404225; 404237; 404238; 404239; 404240; 404241;

  404242; 404243; 404244; 404245; 404246; 404250; 404251; 404252; 404253; 404254; 404255;

  404256; 404257; 404258; 404259; 404260; 404261; 404262; 404267; 404268; 404269; 404270;

  404272; 404273; 404274; 404277; 404278; 404279; 404280; 404281; 404282; 404283; 404284;

  404285; 404286; 404287; 404288; 404289; 404290; 404291; 404294; 404295; 404296; 404297;

  404298; 404299; 404300; 404314; 404315; 404317; 404320; 404321; 404322; 404325; 404326;

  404327; 404332; 404346; 404350; 404363; 404364; 404365; 404366; 404367; 404368; 404369;

  404370; 404371; 404372; 404373; 404374; 404375; 404376; 404377; 404378; 404379; 404380;

  404381; and 404382. 4

             77.           Pursuant to the invoices and parties’ agreement, under said invoices, GO Global

  was required to pay and did pay a total of $1,505,122.26, with any remaining balance to be paid

  upon arrival of the goods at destination.

             78.           GO Global did in fact pay all deposits and payments required under the above

  described Contract.


  4
      See Paragraph 40, supra.

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 20 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 20

           79.             V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.

           80.             In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.

           81.             V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.

           82.             GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.

           83.             Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:

                     a. Refused to perform its obligations under the Contract;

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;

                     d. Cancelled or refused to honor the Contracts and refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.


                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 21 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 21

           84.             V10’s acts were improper and not permitted under the terms of the Contracts or

  general principles of contract law.

           85.             V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.

           86.             As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.

           WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.

                                                    COUNT III
                                               BREACH OF CONTRACT
                                                   (Against V10)

           87.             GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

           88.             On or about February 19, 2021, GO Global negotiated the terms of an agreement

  with V10 through emails and telephone conversations.

           89.             In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit the invoices bearing the numbers 3456988; 3456989;

  3456990; 3456991; 3456992; 3456993; 3456994; 3456995; 3456996; 3457009; 3457011;


                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 22 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 22

  3457019; 3457020; 3457021; 3457022; 3457025; 3457026; 3457027; 3457029; 3457031;

  3457032; 3457033; 3457034; 3457035; 3457036; 3457037; 3457038; 3457039; 3457040;

  3457041; 3457042; 3457043; 3457044; 3457045; 3457046; 3457047; 3457048; 3457060;

  3457061; 3457062; 3457063; 3457064; 3457065; 3457066; 3457067; 3457068; 3457069;

  3457070; 3457071; 3457072; 3457073; 3457074; 3457075; 3457076; 404845; 404846; 404847;

  404848; 404849; 404850; 404851; 404852; 404853; 404854; 404855; 404856; 404857; 404858;

  404859; 404860; 404861; 404862; 404863; 404864; 404865; 404866; 404867; 404868; 404869;

  404870; 404871; 404872; 404873; 404879; 404880; 404881; 404882; 404883; 404889; 404890;

  404891; 404892; 404900; 404901; 404905; 404906; 404907; 404908; 404909; 404910; 404911;

  404913; 404914; 404915; 404916; 404917; 404918; 404919; 404920; 404921; 404922; 404923;

  404924; 404925; 404926; 404927; 404928; 404929; 404930; 404931; 404932; 404933; 404934;

  404935; 404936; 404937; 404938; 404939; 404940; 404941; 404942; 404943; 404944; 404953;

  404955; 404956; 404959; 404960; 404961; 404962; 404963; 404964; 404965; 404966; 404967;

  404968; 404969; 404970; 404971; 404972; 404973; 404974; 404975; 404976; 404977; 404978;

  404979; 404980; 404981; 404982; 404983; 404984; 404985; 404986; 25/03/2021-10; 25/03/2021-

  71; 25/03/2021-122; 25/03/2021-25; 25/03/2021-28; 25/03/2021-72; 25/03/2021-93; 25/03/2021-

  32; 25/03/2021-86; 25/03/2021-84; 25/03/2021-69; 25/03/2021-92; 25/03/2021-78; 25/03/2021-

  75;    25/03/2021-119;      25/03/2021-100;         25/03/2021-99;            25/03/2021-106;    25/03/2021-29;

  25/03/2021-31; 25/03/2021-126; 25/03/2021-47; 25/03/2021-42; 25/03/2021-52; 25/03/2021-51;

  25/03/2021-1; 25/03/2021-135; 25/03/2021-62; 25/03/2021-125; 25/03/2021-110; 25/03/2021-30;

  25/03/2021-114; 25/03/2021-20; 25/03/2021-113; 25/03/2021-7; 25/03/2021-59; 25/03/2021-82;

  25/03/2021-80; 25/03/2021-103; 25/03/2021-85; 25/03/2021-112; 25/03/2021-111; 25/03/2021-

  13; 25/03/2021-56; 25/03/2021-43; 25/03/2021-54; 25/03/2021-123; 25/03/2021-70; 25/03/2021-


                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129                FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 23 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 23

  49;    25/03/2021-50;     25/03/2021-73;         25/03/2021-116;             25/03/2021-121;    25/03/2021-118;

  25/03/2021-46; 25/03/2021-27; 25/03/2021-91; 25/03/2021-83; 25/03/2021-120; 25/03/2021-21;

  25/03/2021-33; 25/03/2021-89; 25/03/2021-24; 25/03/2021-48; 25/03/2021-63; 25/03/2021-88;

  25/03/2021-127; 25/03/2021-129; 25/03/2021-17; 25/03/2021-12; 25/03/2021-101; 25/03/2021-

  81;    25/03/2021-98;      25/03/2021-97;         25/03/2021-109;             25/03/2021-102;    25/03/2021-58;

  25/03/2021-6; 25/03/2021-117; 25/03/2021-19; 25/03/2021-128; 25/03/2021-15; 25/03/2021-66;

  25/03/2021-11; 25/03/2021-61; 25/03/2021-23; 25/03/2021-108; 25/03/2021-45; 25/03/2021-18;

  25/03/2021-34; 25/03/2021-60; 25/03/2021-90; 25/03/2021-94; 25/03/2021-53; 25/03/2021-57;

  25/03/2021-74; 25/03/2021-77; 25/03/2021-16; 25/03/2021-105; 25/03/2021-107; 25/03/2021-87;

  25/03/2021-9; 25/03/2021-26; 25/03/2021-136; 25/03/2021-124; 25/03/2021-14; 25/03/2021-76;

  25/03/2021-8; 25/03/2021-22; 25/03/2021-104; 25/03/2021-96; 25/03/2021-79; 25/03/2021-137;

  25/03/2021-55; 25/03/2021-115; 25/03/2021-44; 25/03/2021-95; 25/03/2021-64; 25/03/2021-65;

  26/03/2021-17; 26/03/2021-16; 26/03/2021-28; 26/03/2021-25; 26/03/2021-5; 26/03/2021-12;

  26/03/2021-1; 26/03/2021-20; 26/03/2021-27; 26/03/2021-31; 26/03/2021-29; 26/03/2021-21;

  26/03/2021-18; 26/03/2021-4; 26/03/2021-19; 26/03/2021-3; 26/03/2021-26; 26/03/2021-6;

  26/03/2021-9; 26/03/2021-13; 26/03/2021-15; 26/03/2021-10; 26/03/2021-7; 26/03/2021-22;

  26/03/2021-30; 26/03/2021-8; 26/03/2021-14; 26/03/2021-24; 26/03/2021-11; 26/03/2021-2;

  26/03/2021-23; 27/03/2021-1; 27/03/2021-7; 27/03/2021-13; 27/03/2021-17; 27/03/2021-2;

  27/03/2021-16; 27/03/2021-14; 27/03/2021-12; 27/03/2021-9; 27/03/2021-10; 27/03/2021-11;

  27/03/2021-20; 27/03/2021-8; 27/03/2021-5; 27/03/2021-15; 27/03/2021-18; 27/03/2021-19;

  27/03/2021-4; 27/03/2021-3; 27/03/2021-6; 28/03/2021-4; 28/03/2021-2; 28/03/2021-9;

  28/03/2021-8; 28/03/2021-6; 28/03/2021-1; 28/03/2021-10; 28/03/2021-7; 28/03/2021-5;

  28/03/2021-3; 30/03/2021-11; 30/03/2021-5; 30/03/2021-4; 30/03/2021-3; 30/03/2021-12;


                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129                FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 24 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 24

  31/03/2021-9; 31/03/2021-5; 31/03/2021-1; 31/03/2021-8; 31/03/2021-4; 31/03/2021-7;

  31/03/2021-2; 31/03/2021-3; 31/03/2021-6; 31/03/2021-20; 31/03/2021-19; 31/03/2021-31;

  31/03/2021-33; 31/03/2021-15; 31/03/2021-27; 31/03/2021-11; 31/03/2021-32; 31/03/2021-26;

  31/03/2021-29; 31/03/2021-24; 31/03/2021-14; 31/03/2021-25; 31/03/2021-10; 31/03/2021-30;

  31/03/2021-18; 31/03/2021-34; 31/03/2021-13; 31/03/2021-28; 31/03/2021-23; 31/03/2021-21;

  31/03/2021-12; 31/03/2021-17; 31/03/2021-16; 31/03/2021-22; 32/03/2021-3; 32/03/2021-1;

  32/03/2021-2; 32/03/2021-4; 32/03/2021-5; 32/03/2021-11; 32/03/2021-10; 32/03/2021-7;

  32/03/2021-6; 32/03/2021-8; 32/03/2021-9; 33/03/2021-3; 33/03/2021-1; 33/03/2021-2;

  33/03/2021-4; 34/03/2021-3; 34/03/2021-1; 34/03/2021-2; 34/03/2021-5; 34/03/2021-4;

  09/04/2021-14; 09/04/2021-13; 09/04/2021-7; 09/04/2021-11; 09/04/2021-6; 09/04/2021-10;

  09/04/2021-5; 09/04/2021-19; 09/04/2021-8; 09/04/2021-12; 09/04/2021-9; 09/04/2021-16; and

  09/04/2021-15. 5

             90.           Pursuant to the invoices and parties’ agreement, under said invoices, GO Global

  was required to pay and did pay a total of $4,541,569.78, with any remaining balance to be paid

  upon arrival of the goods at destination.

             91.           GO Global did in fact pay all deposits and payments required under the above

  described Contract.

             92.           V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.




  5
      See Paragraph 40, supra.

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 25 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 25

           93.             In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.

           94.             V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.

           95.             GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.

           96.             Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:

                     a. Refused to perform its obligations under the Contract;

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;

                     d. Cancelled or refused to honor the Contractsand refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.

           97.             V10’s acts were improper and not permitted under the terms of the Contracts or

  general principles of contract law.




                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 26 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 26

           98.             V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.

           99.             As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.

           WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.

                                                    COUNT IV
                                               BREACH OF CONTRACT
                                                   (Against V10)

           100.            GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

           101.            On or about March 25, 2021, GO Global negotiated the terms of an agreement

  with V10 through emails and telephone conversations.

           102.            In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit the invoices bearing the numbers 37/04/2021-8;

  37/04/2021-6; 37/04/2021-13; 37/04/2021-7; 37/04/2021-5; 37/04/2021-10; 37/04/2021-31;

  37/04/2021-14; 37/04/2021-9; 37/04/2021-12; 37/04/2021-11; 3469406; 3469407; 3469408;

  3469409; 3469410; 3469411; 3469412; 3469413; 3469415; 3469416; 3469417; 3469418;


                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 27 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 27

  3469419; 3469420; 3469421; 3469422; 3469423; 3469424; 3469425; 3469426; 3469427;

  3469428; 3469429; 3469430; 3469431; 3469432; 3469433; 3469434; 3469435; 3469436;

  3469437; 3469438; 3469439; 3469440; 3469441; 3469442; 3469443; 3469444; 3469445;

  3469446; 3469447; 3469448; 3469449; 3469450; 3469451; 3469452; 3469453; 3469454;

  3469455; 3469456; 3469457; 3469458; 3469459; 3469460; 3469461; 3469462; 3469463;

  3469464; 3469465; 3469466; 3469467; 3469468; 3469470; 3469475; 3469482; 3469483;

  3469484; 3469485; 3469486; 3469487; 3469488; 3469489; 3469490; 3469491; 3469492;

  3469493; 3469494; 3469495; 3469496; 3469497; CGO0401-18; CGO0401-20; CGO0401-21;

  CGO0401-6; CGO0401-24; CGO0401-4; CGO0401-2; CGO0401-3; CGO0401-5; CGO0401-9;

  CGO0401-14;          CGO0401-11;     CGO0401-12;             CGO0401-8;            CGO0401-22;     CGO0401-23;

  CGO0401-16; CGO0401-17; CGO0401-1; CGO0401-7; CGO0401-13; CGO0401-10; CGO0401-

  25; CGO0401-15; CGO0401-19; CGO0402-3; CGO0402-4; CGO0402-5; CGO0402-2;

  CGO0402-1; CGO0403-5; CGO0403-3; CGO0403-4; CGO0403-2; CGO0403-1; CGO0404-4;

  CGO0404-1; CGO0404-2; CGO0404-3; CGO0404-5; CIV0405-18; CIV0405-108; CIV0405-7;

  CIV0405-8; CIV0405-36; CIV0405-38; CIV0405-67; CIV0405-16; CIV0405-41; CIV0405-52;

  CIV0405-57; CIV0405-17; CIV0405-31; CIV0405-51; CIV0405-62; CIV0405-34; CIV0405-32;

  CIV0405-107; CIV0405-105; CIV0405-27; CIV0405-103; CIV0405-14; CIV0405-13; CIV0405-

  37; CIV0405-92; CIV0405-91; CIV0405-54; CIV0405-97; CIV0405-98; CIV0405-45; CIV0405-

  95; CIV0405-73; CIV0405-46; CIV0405-11; CIV0405-58; CIV0405-9; CIV0405-1; CIV0405-4;

  CIV0405-101; CIV0405-65; CIV0405-109; CIV0405-106; CIV0405-87; CIV0405-48; CIV0405-

  86; CIV0405-102; CIV0405-43; CIV0405-42; CIV0405-69; CIV0405-56; CIV0405-40;

  CIV0405-88; CIV0405-110; CIV0405-50; CIV0405-79; CIV0405-78; CIV0405-74; CIV0405-99;

  CIV0405-28; CIV0405-24; CIV0405-30; CIV0405-23; CIV0405-84; CIV0405-100; CIV0405-83;


                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129                 FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 28 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 28

  CIV0405-75; CIV0405-53; CIV0405-61; CIV0405-6; CIV0405-55; CIV0405-68; CIV0405-64;

  CIV0405-22; CIV0405-19; CIV0405-70; CIV0405-35; CIV0405-60; CIV0405-25; CIV0405-29;

  CIV0405-15; CIV0405-12; CIV0405-96; CIV0405-77; CIV0405-10; CIV0405-59; CIV0405-80;

  CIV0405-76; CIV0405-94; CIV0405-71; CIV0405-81; CIV0405-85; CIV0405-26; CIV0405-20;

  CIV0405-21; CIV0405-82; CIV0405-89; CIV0405-90; CIV0405-5; CIV0405-33; CIV0405-104;

  CIV0405-3; CIV0405-2; CIV0405-66; CIV0405-39; CIV0405-44; CIV0405-63; CIV0405-49;

  CIV0405-72; CIV0405-93; CIV0405-47; CIV0406-4; CIV0406-15; CIV0406-20; CIV0406-18;

  CIV0406-14; CIV0406-9; CIV0406-11; CIV0406-21; CIV0406-1; CIV0406-3; CIV0406-5;

  CIV0406-19; CIV0406-8; CIV0406-7; CIV0406-10; CIV0406-6; CIV0406-17; CIV0406-22;

  CIV0406-16; CIV0406-13; CIV0406-2; CIV0406-12; CIV0407-8; CIV0407-9; CIV0407-7;

  CIV0407-4; CIV0407-16; CIV0407-11; CIV0407-2; CIV0407-3; CIV0407-10; CIV0407-13;

  CIV0407-19; CIV0407-15; CIV0407-14; CIV0407-18; CIV0407-5; CIV0407-12; CIV0407-17;

  CIV0407-6; CIV0407-1; CIV0407-20; CIV0408-1; CIV0408-2; CIV0410-12; CIV0410-11;

  CIV0410-9; CIV0410-10; CIV0410-13; CIV0410-5; CIV0410-7; CIV0410-2; CIV0410-21;

  CIV0410-18; CIV0410-3; CIV0410-8; CIV0410-1; CIV0410-19; CIV0410-4; CIV0410-20;

  CIV0410-17; CIV0411-17; CIV0411-12; CIV0411-15; CIV0411-14; CIV0411-20; CIV0411-18;

  CIV0411-16; CIV0411-19; CIV0411-11; CIV0411-13; CIV0411-8; CIV0411-7; CIV0411-9;

  CIV0411-5; CIV0411-3; CIV0411-2; CIV0411-4; CIV0411-10; CIV0411-6; and CIV0411-1. 6

             103.          Pursuant to the invoices and parties’ agreement, under said invoices, GO Global

  was required to pay and did pay a total of $3,280,982.29, with any remaining balance to be paid

  upon arrival of the goods at destination.




  6
      See Paragraph 40, supra.

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 29 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 29

           104.            GO Global did in fact pay all deposits and payments required under the above

  described Contract.

           105.            V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.

           106.            In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.

           107.            V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.

           108.            GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.

           109.            Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:

                     a. Refused to perform its obligations under the Contract;

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;




                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 30 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 30

                     d. Cancelled or refused to honor the Contractsand refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.

           110.            V10’s acts were improper and not permitted under the terms of the Contracts or

  general principles of contract law.

           111.            V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.

           112.            As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.

           WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.

                                                    COUNT V
                                               BREACH OF CONTRACT
                                                   (Against V10)

           113.            GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

           114.            In or about May 11, 2021, GO Global negotiated the terms of an agreement with

  V10 through emails and telephone conversations.


                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 31 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 31

           115.            In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit the invoices bearing the numbers CGO0501-17;

  CGO0501-16; CGO0501-15; CGO0501-1; CGO0501-4; CGO0501-13; CGO0501-12; CGO0501-

  6; CGO0501-8; CGO0501-14; CGO0501-18; CGO0501-5; CGO0501-3; CGO0501-7; CGO0501-

  2; CGO0501-11; CGO0501-21; CGO0501-24; CGO0501-25; CGO0501-22; CGO0501-23;

  CGO0501-20; CGO0501-26; CGO0501-10; CGO0501-19; CGO0501-9; CGO0502-4; CGO0502-

  5; CGO0502-6; CGO0502-2; CGO0502-1; CGO0502-3; CGO0503-1; CGO0503-2; CGO0503-4;

  CGO0503-3; CGO0504; CGO0505-2; CGO0505-1; CGO0506-4; CGO0506-3; CGO0506-1;

  CGO0506-2; CGO0506-6; CGO0506-5; CGO0507-3; CGO0507-6; CGO0507-5; CGO0507-4;

  CGO0507-1; CGO0507-2; CGO0508-2; CGO0508-1; CGO0509-1; CGO0509-2; CGO0510-1;

  CGO0510-2; 3483251; 3483252; 3483253; 3483254; 3483255; 3483256; 3483257; 3483258;

  3483259; 3483260; 3483261; 3483262; 3483263; 3483264; 3483265; 3483266; 3483267;

  3483268; 3483269; 3483270; 3483271; 3483272; 3483273; 3483274; 3483275; 3483276;

  3483277; 3483278; 3483279; 3483280; 3483281; 3483282; 3483283; 3483284; 3483285;

  3483286; 3483287; 3483288; 3483289; 3483290; 3483291; 3483292; 3483293; 3483294;

  3483295; 3483296; 3483297; 3483298; 3483299; 3483300; 3483301; 3483302; 3483303;

  3483304; 3483305; 3483306; 3483307; 3483308; 3483309; 3483310; 3483311; 3483312;

  3483313; 3483314; 3483315; 3483316; 3483317; 3483318; 3483319; 3483320; 3483321;

  3483322; 3483323; 3483324; 3483325; 3483326; 3483327; 3483328; 3483329; 3483330;

  3483331; 3483332; 3483333; 3483334; 3483335; 3483336; 3483337; 3483338; 3483339;

  3483340; 3483341; 3483343; 3483345; 3483346; 3483347; 3483348; 3483349; 3483350;

  3483353; 3483354; 3483357; 3483358; 3483359; 3483362; 3483363; 3483364; 3483365;

  3483366; 3483367; 3483368; 3483369; 3483370; 3483371; 3483372; 3483373; 3483374;


                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 32 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 32

  3483375; 3483376; 3483377; 3483378; 3483379; 3483380; 3483381; 3483382; 3483383;

  3483384; 3483385; 3483386; 3483387; 3483388; 3483389; 3483390; 3483391; 3483392;

  3483393; #1-34; #1-35; #1-27; #1-21; #1-50; #1-52; #1-26; #1-29; #1-28; #1-01; #1-15; #1-45;

  #1-43; #1-25; #1-22; #1-03; #1-14; #1-13; #1-18; #1-17; #1-02; #1-19; #1-16; #1-30; #1-33; #1-

  44; #1-39; #1-48; #1-49; #1-47; #1-53; #1-51; #1-37; #1-40; #1-42; #1-46; #1-07; #1-06; #1-24;

  #1-23; #1-09; #1-12; #1-08; #1-05; #1-11; #1-10; #2-12; #2-11; #2-15; #2-14; #3-10; #3-11; #3-

  08; #3-07; #3-09; #3-06; #4-02; #4-01; #6-06; #6-07; #6-09; #6-03; #6-08; #7-05; #7-15; #7-02;

  #7-03; #7-04; #7-10; #7-01; #7-11; #7-14; #7-13; #7-12; #7-06; #7-09; #7-07; #7-08; #8-04; #8-

  01; #8-02; #8-03; #9-02; #9-01; #9-04; #9-03; #10-04; and #10-05. 7

             116.          Pursuant to the invoices and parties’ agreement, under said invoices, GO Global

  was required to pay and did pay a total of $2,577,575.24, with any remaining balance to be paid

  upon arrival of the goods at destination.

             117.          GO Global did in fact pay all deposits and payments required under the above

  described Contract.

             118.          V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.

             119.          In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.

             120.          V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.


  7
      See Paragraph 40, supra.

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 33 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 33

           121.            GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.

           122.            Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:

                     a. Refused to perform its obligations under the Contract;

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;

                     d. Cancelled or refused to honor the Contractsand refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.

           123.            V10’s acts were improper and not permitted under the terms of the Contracts or

  general principles of contract law.

           124.            V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.

           125.            As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)


                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 34 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 34

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.

             WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.

                                                    COUNT VI
                                               BREACH OF CONTRACT
                                                   (Against V10)

             126.          GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

             127.          On or about June 16, 2021, GO Global negotiated the terms of an agreement

  with V10 through emails and telephone conversations.

             128.          In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit a series of invoices bearing no invoice numbers 8 but

  seeking immediate payment for the orders in a total sum of $1,500,000.00

             129.          Pursuant to the invoices and parties’ agreement, under said invoices, GO Global

  was required to pay and did pay a total of $1,500,000.00, with any remaining balance to be paid

  upon arrival of the goods at destination.

             130.          GO Global did in fact pay all deposits and payments required under the above

  described Contract.




  8
      See Paragraph 40, supra.

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 35 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 35

           131.            V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.

           132.            In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.

           133.            V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.

           134.            GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.

           135.            Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:

                     a. Refused to perform its obligations under the Contract;

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;

                     d. Cancelled or refused to honor the Contractsand refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.


                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 36 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 36

           136.            V10’s acts were improper and not permitted under the terms of the Contracts or

  general principles of contract law.

           137.            V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.

           138.            As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.

           WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.

                                                    COUNT VII
                                               BREACH OF CONTRACT
                                                   (Against V10)

           139.            GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

           140.            On or about March 7, 2021, GO Global negotiated the terms of an agreement

  with V10 through emails and telephone conversations.

           141.            In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit the invoices bearing the numbers 20/02/2021-19;

  20/02/2021-20; 20/02/2021-11; 20/02/2021-26; 20/02/2021-6; 20/02/2021-16; 20/02/2021-30;


                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 37 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 37

  20/02/2021-23; 20/02/2021-24; 20/02/2021-5; 20/02/2021-29; 20/02/2021-22; 20/02/2021-27;

  20/02/2021-21; 20/02/2021-28; 20/02/2021-7; 20/02/2021-15; 20/02/2021-14; 20/02/2021-9;

  20/02/2021-13; 20/02/2021-25; 20/02/2021-12; 20/02/2021-18; 20/02/2021-17; 20/02/2021-8;

  20/02/2021-3; 20/02/2021-4; 20/02/2021-1; 01/03/2021-21; 01/03/2021-27; 01/03/2021-29;

  01/03/2021-28; 01/03/2021-22; 01/03/2021-26; 01/03/2021-30; 01/03/2021-23; 01/03/2021-8;

  01/03/2021-4; 01/03/2021-9; 01/03/2021-6; 01/03/2021-10; 01/03/2021-7; 01/03/2021-5;

  22/03/2021-17; 22/03/2021-4; 22/03/2021-5; 22/03/2021-6; 22/03/2021-49; 22/03/2021-48;

  22/03/2021-29; 22/03/2021-38; 22/03/2021-28; 22/03/2021-40; 22/03/2021-19; 22/03/2021-7;

  22/03/2021-2; 22/03/2021-3; 22/03/2021-13; 22/03/2021-10; 22/03/2021-14; 22/03/2021-18;

  22/03/2021-24; 22/03/2021-15; 22/03/2021-23; 22/03/2021-25; 22/03/2021-32; 22/03/2021-50;

  22/03/2021-26; 22/03/2021-16; 22/03/2021-34; 22/03/2021-9; 22/03/2021-8; 22/03/2021-37;

  22/03/2021-27; 22/03/2021-33; 22/03/2021-31; 22/03/2021-39; 22/03/2021-1; 22/03/2021-35;

  22/03/2021-22; 22/03/2021-30; 22/03/2021-12; 22/03/2021-11; 22/03/2021-36; 22/03/2021-20;

  22/03/2021-21; 22/03/2021-46; 24/03/2021-39; 24/03/2021-11; 24/03/2021-37; 24/03/2021-18;

  24/03/2021-3; 24/03/2021-12; 24/03/2021-7; 24/03/2021-36; 24/03/2021-35; 24/03/2021-44;

  24/03/2021-31; 24/03/2021-28; 24/03/2021-24; 24/03/2021-23; 24/03/2021-40; 24/03/2021-4;

  24/03/2021-8; 24/03/2021-6; 24/03/2021-13; 24/03/2021-32; 24/03/2021-43; 24/03/2021-33;

  24/03/2021-30; 24/03/2021-42; 24/03/2021-16; 24/03/2021-20; 24/03/2021-26; 24/03/2021-29;

  24/03/2021-19; 24/03/2021-25; 24/03/2021-17; 24/03/2021-27; 24/03/2021-21; 24/03/2021-41;

  24/03/2021-34; 24/03/2021-22; 24/03/2021-55; 24/03/2021-15; 24/03/2021-38; 24/03/2021-14;

  24/03/2021-5; 24/03/2021-1; 24/03/2021-45; 24/03/2021-2; 36/03/2021-1; 36/03/2021-7;

  36/03/2021-12; 36/03/2021-15; 36/03/2021-19; 36/03/2021-16; 36/03/2021-10; 36/03/2021-5;

  36/03/2021-4; 36/03/2021-14; 36/03/2021-17; 36/03/2021-3; 36/03/2021-18; 36/03/2021-20;


                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129   FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 38 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 38

  36/03/2021-8; 36/03/2021-6; 36/03/2021-2; 36/03/2021-9; 36/03/2021-11; 36/03/2021-13;

  37/03/2021-8; 37/03/2021-6; 37/03/2021-7; 37/03/2021-9; 37/03/2021-10; 37/03/2021-1;

  37/03/2021-5; 37/03/2021-2; 37/03/2021-3; 46/03/2021-3; 46/03/2021-2; 46/03/2021-10; and

  46/03/2021-1.9

             142.          Pursuant to the invoices and parties’ agreement, under said invoices, GO Global

  was required to pay and did pay a total of $1,657,543.50, with any remaining balance to be paid

  upon arrival of the goods at destination.

             143.          GO Global did in fact pay all deposits and payments required under the above

  described Contract.

             144.          V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.

             145.          In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.

             146.          V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.

             147.          GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.

             148.          Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:


  9
      See Paragraph 40, supra.

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 39 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 39

                     a. Refused to perform its obligations under the Contract;

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;

                     d. Cancelled or refused to honor the Contractsand refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.

           149.            V10’s acts were improper and not permitted under the terms of the Contracts or

  general principles of contract law.

           150.            V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.

           151.            As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.




                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 40 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 40

           WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.



                                                   COUNT VIII
                                               BREACH OF CONTRACT
                                                   (Against V10)

           152.            GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

           153.            In or about the first week of April, 2021, GO Global negotiated the terms of an

  agreement with V10 through emails and telephone conversations.

           154.            In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit the invoices bearing the numbers 19/04/2021-5;

  19/04/2021-3; 19/04/2021-8; 19/04/2021-6; 19/04/2021-10; 19/04/2021-19; 19/04/2021-17;

  19/04/2021-18; 19/04/2021-7; 19/04/2021-14; 19/04/2021-12; 19/04/2021-2; 19/04/2021-13;

  19/04/2021-4; 19/04/2021-1; 19/04/2021-9; 19/04/2021-15; 19/04/2021-11; 19/04/2021-20;

  20/04/2021-8; 20/04/2021-3; 20/04/2021-1; 20/04/2021-18; 20/04/2021-11; 20/04/2021-20;

  20/04/2021-19; 20/04/2021-5; 20/04/2021-6; 20/04/2021-7; 20/04/2021-4; 20/04/2021-2;

  20/04/2021-9; 20/04/2021-10; 20/04/2021-17; 20/04/2021-13; 20/04/2021-14; 20/04/2021-16;

  20/04/2021-15; 20/04/2021-12; 21/04/2021-13; 21/04/2021-14; 21/04/2021-26; 21/04/2021-19;

  21/04/2021-15; 21/04/2021-23; 21/04/2021-25; 21/04/2021-16; 21/04/2021-21; 21/04/2021-12;

  21/04/2021-29; 21/04/2021-22; 21/04/2021-24; 21/04/2021-30; 21/04/2021-11; 21/04/2021-20;

  21/04/2021-27; 21/04/2021-18; 21/04/2021-28; 21/04/2021-17; 21/04/2021-7; 21/04/2021-10;

  21/04/2021-5; 21/04/2021-6; 21/04/2021-8; 21/04/2021-9; 21/04/2021-3; 21/04/2021-4;


                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 41 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 41

  23/04/2021-11; 23/04/2021-9; 23/04/2021-4; 23/04/2021-3; 23/04/2021-5; 23/04/2021-2;

  23/04/2021-12; 23/04/2021-20; 23/04/2021-10; 23/04/2021-15; 23/04/2021-17; 23/04/2021-19;

  23/04/2021-13; 23/04/2021-18; 23/04/2021-14; 23/04/2021-16; 23/04/2021-8; 26/04/2021-5;

  26/04/2021-4; 26/04/2021-2; and 26/04/2021-3.10

             155.          Pursuant to the invoices and parties’ agreement, under said invoices, GO Global

  was required to pay and did pay a total of $949,401.00, with any remaining balance to be paid

  upon arrival of the goods at destination.

             156.          GO Global did in fact pay all deposits and payments required under the above

  described Contract.

             157.          V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.

             158.          In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.

             159.          V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.

             160.          GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.

             161.          Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:


  10
       See Paragraph 40, supra.

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 42 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 42

                     a. Refused to perform its obligations under the Contract;

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;

                     d. Cancelled or refused to honor the Contractsand refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.

           162.            V10’s acts were improper and not permitted under the terms of the Contracts or

  general principles of contract law.

           163.            V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.

           164.            As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.




                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 43 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 43

           WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.

                                                    COUNT IX
                                               BREACH OF CONTRACT
                                                   (Against V10)

           165.            GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

           166.            In or about the first half of May, 2021, GO Global negotiated the terms of an

  agreement with V10 through emails and telephone conversations.

           167.            In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit the invoices bearing the numbers 45/05/2021-57;

  45/05/2021-33; 45/05/2021-56; 45/05/2021-60; 45/05/2021-32; 45/05/2021-59; 45/05/2021-58;

  45/05/2021-35; 45/05/2021-31; 45/05/2021-34; 45/05/2021-39; 45/05/2021-37; 45/05/2021-40;

  45/05/2021-38; 45/05/2021-36; 45/05/2021-9; 45/05/2021-8; 45/05/2021-2; 45/05/2021-5;

  45/05/2021-7; 45/05/2021-10; 45/05/2021-4; 45/05/2021-6; 45/05/2021-1; 45/05/2021-3;

  45/05/2021-52; 45/05/2021-42; 45/05/2021-47; 45/05/2021-50; 45/05/2021-45; 45/05/2021-44;

  45/05/2021-41; 45/05/2021-46; 45/05/2021-55; 45/05/2021-49; 45/05/2021-54; 45/05/2021-43;

  45/05/2021-51; 45/05/2021-53; 45/05/2021-48; 45/05/2021-18; 45/05/2021-27; 45/05/2021-11;

  45/05/2021-15; 45/05/2021-23; 45/05/2021-21; 45/05/2021-19; 45/05/2021-25; 45/05/2021-12;

  45/05/2021-13; 45/05/2021-16; 45/05/2021-17; 45/05/2021-29; 45/05/2021-26; 45/05/2021-20;

  45/05/2021-22; 45/05/2021-24; 45/05/2021-14; 45/05/2021-28; 45/05/2021-30; 46/05/2021-13;

  46/05/2021-11; 46/05/2021-15; 46/05/2021-12; 46/05/2021-14; 46/05/2021-5; 46/05/2021-3;

  46/05/2021-2; 46/05/2021-4; 46/05/2021-1; 46/05/2021-6; 46/05/2021-8; 46/05/2021-10;


                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 44 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 44

  46/05/2021-7; 46/05/2021-9; 47/05/2021-4; 47/05/2021-2; 47/05/2021-1; 47/05/2021-3;

  47/05/2021-7; 47/05/2021-5; 47/05/2021-8; 47/05/2021-10; 47/05/2021-9; 47/05/2021-6;

  48/05/2021-5; 48/05/2021-11; 48/05/2021-1; 48/05/2021-12; 48/05/2021-10; 49/05/2021-16;

  49/05/2021-17; 49/05/2021-19; 49/05/2021-18; 49/05/2021-20; 49/05/2021-2; 49/05/2021-1;

  49/05/2021-5; 49/05/2021-3; 49/05/2021-4; 49/05/2021-6; 49/05/2021-12; 49/05/2021-14;

  49/05/2021-10; 49/05/2021-9; 49/05/2021-8; 49/05/2021-13; 49/05/2021-11; 49/05/2021-15;

  49/05/2021-7; 50/05/2021-9; 50/05/2021-10; 50/05/2021-2; 50/05/2021-3; 50/05/2021-1;

  50/05/2021-7; 50/05/2021-4; 50/05/2021-6; 50/05/2021-5; 50/05/2021-8; 51/05/2021-1;

  51/05/2021-2; 52/05/2021-3; 52/05/2021-4; 52/05/2021-2; 52/05/2021-5; and 52/05/2021-1.11

             168.          Pursuant to the invoices and parties’ agreement, under said invoices, GO Global

  was required to pay and did pay a total of $1,580,148.00, with any remaining balance to be paid

  upon arrival of the goods at destination.

             169.          GO Global did in fact pay all deposits and payments required under the above

  described Contract.

             170.          V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.

             171.          In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.

             172.          V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.


  11
       See Paragraph 40, supra.

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 45 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 45

           173.            GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.

           174.            Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:

                     a. Refused to perform its obligations under the Contract;

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;

                     d. Cancelled or refused to honor the Contractsand refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.

           175.            V10’s acts were improper and not permitted under the terms of the Contracts or

  general principles of contract law.

           176.            V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.

           177.            As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)


                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 46 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 46

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.

             WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.

                                                    COUNT X
                                               BREACH OF CONTRACT
                                                   (Against V10)

             178.          GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

             179.          In or about the second half of April, 2021, GO Global negotiated the terms of an

  agreement with V10 through emails and telephone conversations.

             180.          In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit an invoice bearing the number 24/12/2020-1.12

             181.          Pursuant to the invoices and parties’ agreement, under said invoice, GO Global

  was required to pay and did pay a total of $20,088.00, with any remaining balance to be paid upon

  arrival of the goods at destination.

             182.          GO Global did in fact pay all deposits and payments required under the above

  described Contract.

             183.          V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.


  12
       See Paragraph 40, supra.

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129     FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 47 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 47

           184.            In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.

           185.            V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.

           186.            GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.

           187.            Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:

                     a. Refused to perform its obligations under the Contract;

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;

                     d. Cancelled or refused to honor the Contractsand refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.

           188.            V10’s acts were improper and not permitted under the terms of the Contracts or

  general principles of contract law.




                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 48 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 48

           189.            V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.

           190.            As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.

           WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.

                                                    COUNT XI
                                               BREACH OF CONTRACT
                                                   (Against V10)

           191.            GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

           192.            In or about the second half of April, 2021, GO Global negotiated the terms of an

  agreement with V10 through emails and telephone conversations.

           193.            In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit the invoices bearing the numbers 24/04/2021-1;

  24/04/2021-2; 24/04/2021-4; 24/04/2021-19; 24/04/2021-20; 24/04/2021-6; 24/04/2021-7;

  24/04/2021-9; 24/04/2021-5; 24/04/2021-8; 24/04/2021-18; 24/04/2021-3; 24/04/2021-31;




                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129     FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 49 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 49

  24/04/2021-15; 24/04/2021-16; 24/04/2021-17; 24/04/2021-34; 24/04/2021-54; 24/04/2021-52;

  and 24/04/2021-53; 24/04/2021-50.13

             194.          Pursuant to the invoices and parties’ agreement, under said invoices, GO Global

  was required to pay and did pay a total of $375,480.00, with any remaining balance to be paid

  upon arrival of the goods at destination.

             195.          GO Global did in fact pay all deposits and payments required under the above

  described Contract.

             196.          V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.

             197.          In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.

             198.          V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.

             199.          GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.

             200.          Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:

                      a. Refused to perform its obligations under the Contract;




  13
       See Paragraph 40, supra.

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 50 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 50

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;

                     d. Cancelled or refused to honor the Contractsand refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.

           201.            V10’s acts were improper and not permitted under the terms of the Contracts or

  general principles of contract law.

           202.            V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.

           203.            As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.

           WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.


                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 51 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 51

                                                    COUNT XII
                                               BREACH OF CONTRACT
                                                   (Against V10)

             204.          GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

             205.          On or about January 20, 2021, GO Global negotiated the terms of an agreement

  with V10 through emails and telephone conversations.

             206.          In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit the invoices bearing the numbers

             207.          12/01/2021-1; 12/01/2021-3; 12/01/2021-4; 12/01/2021-14; 12/01/2021-15;

  12/01/2021-9; 12/01/2021-6; 12/01/2021-7; 12/01/2021-12; 12/01/2021-2; 21/01/2021-8;

  21/01/2021-7; 21/01/2021-2; and 21/01/2021-9.14

             208.          Pursuant to the invoices and parties’ agreement, under said invoices, GO Global

  was required to pay and did pay a total of $340,704.00, with any remaining balance to be paid

  upon arrival of the goods at destination.

             209.          GO Global did in fact pay all deposits and payments required under the above

  described Contract.

             210.          V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.

             211.          In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.


  14
       See Paragraph 40, supra.

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 52 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 52

           212.            V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.

           213.            GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.

           214.            Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:

                     a. Refused to perform its obligations under the Contract;

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;

                     d. Cancelled or refused to honor the Contractsand refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.

           215.            V10’s acts were improper and not permitted under the terms of the Contracts or

  general principles of contract law.

           216.            V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.




                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 53 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 53

             217.          As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.

             WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.

                                                   COUNT XIII
                                               BREACH OF CONTRACT
                                                   (Against V10)

             218.          GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

             219.          On or about February 10, 2021, GO Global negotiated the terms of an agreement

  with V10 through emails and telephone conversations.

             220.          In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit the invoices bearing the numbers

             221.          07/02/2021-5; 07/02/2021-3; 07/02/2021-1; 07/02/2021-2; 07/02/2021-4;

  07/02/2021-6; 07/02/2021-7; 07/02/2021-8; 07/02/2021-9; and 07/02/2021-10.15

             222.          Pursuant to the invoices and parties’ agreement, under said invoices, GO Global

  was required to pay and did pay a total of $47,871.00, with any remaining balance to be paid upon

  arrival of the goods at destination.


  15
       See Paragraph 40, supra.

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 54 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 54

           223.            GO Global did in fact pay all deposits and payments required under the above

  described Contract.

           224.            V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.

           225.            In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.

           226.            V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.

           227.            GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.

           228.            Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:

                     a. Refused to perform its obligations under the Contract;

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;




                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 55 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 55

                     d. Cancelled or refused to honor the Contractsand refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.

           229.            V10’s acts were improper and not permitted under the terms of the Contracts or

  general principles of contract law.

           230.            V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.

           231.            As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.

           WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.

                                                   COUNT XIV
                                               BREACH OF CONTRACT
                                                   (Against V10)

           232.            GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

           233.            On or about May 10, 2021, GO Global negotiated the terms of an agreement

  with V10 through emails and telephone conversations.


                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 56 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 56

             234.          In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit the invoices bearing the numbers 08/04/2021-3;

  33/04/2021-5; 01/05/2021-13; 01/05/2021-14; and 01/05/2021-9.16

             235.          Pursuant to the invoices and parties’ agreement, under said invoices, GO Global

  was required to pay and did pay a total of $74,760.00, with any remaining balance to be paid upon

  arrival of the goods at destination.

             236.          GO Global did in fact pay all deposits and payments required under the above

  described Contract.

             237.          V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.

             238.          In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.

             239.          V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.

             240.          GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.

             241.          Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:

                      a. Refused to perform its obligations under the Contract;


  16
       See Paragraph 40, supra.

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 57 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 57

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;

                     d. Cancelled or refused to honor the Contractsand refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.

           242.            V10’s acts were improper and not permitted under the terms of the Contracts or

  general principles of contract law.

           243.            V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.

           244.            As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.

           WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.


                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 58 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 58

                                                    COUNT XV
                                               BREACH OF CONTRACT
                                                   (Against V10)

             245.          GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

             246.          At or about the end of January, 2021, GO Global negotiated the terms of an

  agreement with V10 through emails and telephone conversations.

             247.          In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit the invoices bearing the numbers 26/01/2021-8;

  26/01/2021-9; 26/01/2021-10; 26/01/2021-6; 26/01/2021-7; 26/01/2021-1; 26/01/2021-2;

  26/01/2021-3;         26/01/2021-4;     26/01/2021-5;           02/02/2021;           28/01/2021-8;    28/01/2021-10;

  28/01/2021-9; 28/01/2021-6; and 28/01/2021-5.17

             248.          Pursuant to the invoices and parties’ agreement, under said invoices, GO Global

  was required to pay and did pay a total of $385,392.00, with any remaining balance to be paid

  upon arrival of the goods at destination.

             249.          GO Global did in fact pay all deposits and payments required under the above

  described Contract.

             250.          V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.

             251.          In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.


  17
       See Paragraph 40, supra.

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129                   FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 59 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 59

           252.            V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.

           253.            GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.

           254.            Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:

                     a. Refused to perform its obligations under the Contract;

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;

                     d. Cancelled or refused to honor the Contractsand refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.

           255.            V10’s acts were improper and not permitted under the terms of the Contracts or

  general principles of contract law.

           256.            V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.




                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 60 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 60

           257.            As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.

           WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.



                                                   COUNT XVI
                                               BREACH OF CONTRACT
                                                   (Against V10)

           258.            GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

           259.            In or about the beginning of February 2021, GO Global negotiated the terms of

  an agreement with V10 through emails and telephone conversations.

           260.            In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit the invoices bearing the numbers 11/02/2021-7;

  11/02/2021-30; and 11/02/2021-34.

           261.            Pursuant to the invoices and parties’ agreement, under said invoices, GO Global

  was required to pay and did pay a total of $71,484.00, with any remaining balance to be paid upon

  arrival of the goods at destination.




                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 61 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 61

           262.            GO Global did in fact pay all deposits and payments required under the above

  described Contract.

           263.            V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.

           264.            In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.

           265.            V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.

           266.            GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.

           267.            Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:

                     a. Refused to perform its obligations under the Contract;

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;




                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 62 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 62

                     d. Cancelled or refused to honor the Contractsand refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.

           268.            V10’s acts were improper and not permitted under the terms of the Contracts or

  general principles of contract law.

           269.            V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.

           270.            As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.

           WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.

                                                   COUNT XVII
                                               BREACH OF CONTRACT
                                                   (Against V10)

           271.            GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

           272.            On or about March 8, 2021, GO Global negotiated the terms of an agreement

  with V10 through emails and telephone conversations.


                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 63 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 63

             273.          In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit the invoices bearing the numbers 15/03/2021-4;

  15/03/2021-9; 15/03/2021-12; 15/03/2021-13; 15/03/2021-14; 15/03/2021-15; 15/03/2021-10;

  15/03/2021-11; 16/03/2021-10; 16/03/2021-8; 16/03/2021-9; 16/03/2021-4; 17/03/2021-6;

  17/03/2021-5; 17/03/2021-1; 17/03/2021-3; 18/03/2021-4; 18/03/2021-5; 18/03/2021-6;

  18/03/2021-7; 18/03/2021-9; and 18/03/2021-10.18

             274.          Pursuant to the invoices and parties’ agreement, under said invoices, GO Global

  was required to pay and did pay a total of $612,864.00, with any remaining balance to be paid

  upon arrival of the goods at destination.

             275.          GO Global did in fact pay all deposits and payments required under the above

  described Contract.

             276.          V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.

             277.          In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.

             278.          V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.

             279.          GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.




  18
       See Paragraph 40, supra.

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 64 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 64

           280.            Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:

                     a. Refused to perform its obligations under the Contract;

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;

                     d. Cancelled or refused to honor the Contractsand refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.

           281.            V10’s acts were improper and not permitted under the terms of the Contracts or

  general principles of contract law.

           282.            V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.

           283.            As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost




                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 65 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 65

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.

           WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.

                                                   COUNT XVIII
                                               BREACH OF CONTRACT
                                                    (Against V10)

           284.            GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

           285.            In or about the second half of May, 2021, GO Global negotiated the terms of an

  agreement with V10 through emails and telephone conversations.

           286.            In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit the invoices bearing the numbers 11/04/2021-3;

  11/04/2021-4; 11/04/2021-5; 11/04/2021-6; 11/04/2021-7; 11/04/2021-8; 11/04/2021-9;

  11/04/2021-10; 11/04/2021-11; 11/04/2021-12; 11/04/2021-13; 11/04/2021-1; 11/04/2021-2;

  12/04/2021-10; 12/04/2021-11; 12/04/2021-1; 12/04/2021-3; 12/04/2021-12; 12/04/2021-4;

  12/04/2021-5; 12/04/2021-6; 12/04/2021-7; 13/04/2021-9; 13/04/2021-8; 13/04/2021-6;

  13/04/2021-1; 13/04/2021-2; 13/04/2021-3; 13/04/2021-7; 14/04/2021-10; 14/04/2021-11;

  14/04/2021-12; 14/04/2021-7; 14/04/2021-8; 14/04/2021-9; 14/04/2021-3; 14/04/2021-4;

  14/04/2021-2; 14/04/2021-1; 14/04/2021-6; 15/04/2021-7; 15/04/2021-8; 15/04/2021-1;

  15/04/2021-2; 15/04/2021-3; 15/04/2021-4; 15/04/2021-5; 15/04/2021-6; 16/04/2021-4;




                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 66 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 66

  16/04/2021-5; 16/04/2021-6; 16/04/2021-2; 16/04/2021-3; 16/04/2021-1; 17/04/2021-14; and

  17/04/2021-3.19

             287.          Pursuant to the invoices and parties’ agreement, under said invoices, GO Global

  was required to pay and did pay a total of $1,241,627.76, with any remaining balance to be paid

  upon arrival of the goods at destination.

             288.          GO Global did in fact pay all deposits and payments required under the above

  described Contract.

             289.          V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.

             290.          In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.

             291.          V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.

             292.          GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.

             293.          Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:

                      a. Refused to perform its obligations under the Contract;




  19
       See Paragraph 40, supra.

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 67 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 67

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;

                     d. Cancelled or refused to honor the Contractsand refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.

           294.            V10’s acts were improper and not permitted under the terms of the Contracts or

  general principles of contract law.

           295.            V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.

           296.            As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.

           WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.


                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 68 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 68

                                                   COUNT XIX
                                               BREACH OF CONTRACT
                                                   (Against V10)

             297.          GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

             298.          On or about January 14, 2021, GO Global negotiated the terms of an agreement

  with V10 through emails and telephone conversations.

             299.          In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit the invoices bearing the numbers 20/01/2021-10;

  20/01/2021-11; 20/01/2021-7; 20/01/2021-14; 20/01/2021-12; 20/01/2021-2; and 20/01/2021-5.20

             300.          Pursuant to the invoices and parties’ agreement, under said invoices, GO Global

  was required to pay and did pay a total of $171,528.00, with any remaining balance to be paid

  upon arrival of the goods at destination.

             301.          GO Global did in fact pay all deposits and payments required under the above

  described Contract.

             302.          V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.

             303.          In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.

             304.          V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.


  20
       See Paragraph 40, supra.

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 69 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 69

           305.            GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.

           306.            Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:

                     a. Refused to perform its obligations under the Contract;

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;

                     d. Cancelled or refused to honor the Contractsand refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.

           307.            V10’s acts were improper and not permitted under the terms of the Contracts or

  general principles of contract law.

           308.            V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.

           309.            As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)


                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 70 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 70

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.

             WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.

                                                    COUNT XX
                                               BREACH OF CONTRACT
                                                   (Against V10)

             310.          GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

             311.          On or about February 23, 2021, GO Global negotiated the terms of an agreement

  with V10 through emails and telephone conversations.

             312.          In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit the invoices bearing the numbers 15/02/2021-28;

  15/02/2021-33; 15/02/2021-34; 15/02/2021-7; 15/02/2021-8; 15/02/2021-21; 15/02/2021-24;

  15/02/2021-25; 15/02/2021-26; 15/02/2021-1; 15/02/2021-2; 15/02/2021-9; 15/02/2021-10;

  15/02/2021-3; 15/02/2021-13; 15/02/2021-31; 15/02/2021-32; 15/02/2021-14; 15/02/2021-15;

  15/02/2021-11; 15/02/2021-29; 15/02/2021-30; 15/02/2021-12; 15/02/2021-4; 15/02/2021-27;

  15/02/2021-5; 15/02/2021-37; 15/02/2021-18; 15/02/2021-6; 15/02/2021-17; 15/02/2021-19;

  15/02/2021-22; 15/02/2021-23; 15/02/2021-35; 15/02/2021-16; and 15/02/2021-38.21




  21
       See Paragraph 40, supra.

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 71 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 71

           313.            Pursuant to the invoices and parties’ agreement, under said invoices, GO Global

  was required to pay and did pay a total of $998,250.00, with any remaining balance to be paid

  upon arrival of the goods at destination.

           314.            GO Global did in fact pay all deposits and payments required under the above

  described Contract.

           315.            V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.

           316.            In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.

           317.            V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.

           318.            GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.

           319.            Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:

                     a. Refused to perform its obligations under the Contract;

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;




                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 72 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 72

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;

                     d. Cancelled or refused to honor the Contractsand refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.

           320.            V10’s acts were improper and not permitted under the terms of the Contracts or

  general principles of contract law.

           321.            V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.

           322.            As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.

           WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.

                                                   COUNT XXI
                                               BREACH OF CONTRACT
                                                   (Against V10)




                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 73 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 73

             323.          GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

             324.          On or about February 25, 2021, GO Global negotiated the terms of an agreement

  with V10 through emails and telephone conversations.

             325.          In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit the invoices bearing the numbers 06/03/2021-11;

  06/03/2021-17; 06/03/2021-18; 06/03/2021-22; 06/03/2021-23; 06/03/2021-1; 06/03/2021-2;

  06/03/2021-3; 06/03/2021-4; 06/03/2021-5; 06/03/2021-19; 06/03/2021-9; 06/03/2021-27;

  06/03/2021-16; 06/03/2021-7; 06/03/2021-28; 06/03/2021-8; 06/03/2021-10; 06/03/2021-25;

  06/03/2021-15; 06/03/2021-20; 06/03/2021-21; 06/03/2021-29; 06/03/2021-26; 08/03/2021-1;

  08/03/2021-2; 08/03/2021-3; 08/03/2021-4; 08/03/2021-12; 08/03/2021-13; 08/03/2021-5;

  08/03/2021-6; 08/03/2021-7; 08/03/2021-8; 08/03/2021-9; 08/03/2021-14; 08/03/2021-15;

  08/03/2021-10; 08/03/2021-11; 08/03/2021-16; 08/03/2021-17; 39/03/2021-8; 39/03/2021-5;

  39/03/2021-6; 39/03/2021-2; 39/03/2021-3; 39/03/2021-4; 40/03/2021-2; 40/03/2021-5;

  40/03/2021-6; 40/03/2021-7; 40/03/2021-8; 40/03/2021-4; 41/03/2021-10; 41/03/2021-1;

  41/03/2021-5; 41/03/2021-6; 41/03/2021-3; 41/03/2021-7; 41/03/2021-2; 41/03/2021-9;

  41/03/2021-8; 41/03/2021-4; 42/03/2021-9; 42/03/2021-10; 42/03/2021-3; 42/03/2021-6;

  42/03/2021-7; 42/03/2021-5; 42/03/2021-2; 42/03/2021-8; 42/03/2021-1; 42/03/2021-4;

  43/03/2021-5; 43/03/2021-3; 43/03/2021-4; 43/03/2021-2; 43/03/2021-1; 44/03/2021-3;

  44/03/2021-1; 44/03/2021-2; 44/03/2021-5; 44/03/2021-4; 45/03/2021-5; 45/03/2021-3;

  45/03/2021-4; and 65/03/2021-3.22




  22
       See Paragraph 40, supra.

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 74 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 74

           326.            Pursuant to the invoices and parties’ agreement, under said invoices, GO Global

  was required to pay and did pay a total of $2,333,772.00 with any remaining balance to be paid

  upon arrival of the goods at destination.

           327.            GO Global did in fact pay all deposits and payments required under the above

  described Contract.

           328.            V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.

           329.            In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.

           330.            V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.

           331.            GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.

           332.            Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:

                     a. Refused to perform its obligations under the Contract;

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;




                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 75 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 75

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;

                     d. Cancelled or refused to honor the Contractsand refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.

                     333.                    V10’s acts were improper and not permitted under the terms

  of the Contracts or general principles of contract law.

           334.            V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.

           335.            As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.

           WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.

                                                   COUNT XXII
                                               BREACH OF CONTRACT
                                                   (Against V10)




                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 76 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 76

             336.          GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

             337.          In or about the second half of April, 2021, GO Global negotiated the terms of an

  agreement with V10 through emails and telephone conversations.

             338.          In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit the invoices bearing the numbers 28/04/2021-1;

  28/04/2021-2; 28/04/2021-3; 28/04/2021-14; 28/04/2021-15; 28/04/2021-7; 28/04/2021-6;

  28/04/2021-8; 28/04/2021-9; 28/04/2021-4; 28/04/2021-5; 29/04/2021-1; 29/04/2021-2;

  29/04/2021-3; 29/04/2021-5; 29/04/2021-6; 29/04/2021-7; 29/04/2021-8; 29/04/2021-9;

  30/04/2021-9; 30/04/2021-10; 30/04/2021-11; 30/04/2021-1; 30/04/2021-2; 30/04/2021-8;

  30/04/2021-3; 30/04/2021-4; 30/04/2021-6; 30/04/2021-7; 31/04/2021-1; 31/04/2021-2;

  31/04/2021-9; 31/04/2021-10; 31/04/2021-5; 31/04/2021-6; 31/04/2021-7; 31/04/2021-8;

  31/04/2021-14; 31/04/2021-4; 32/04/2021-6; 32/04/2021-7; 32/04/2021-8; 32/04/2021-9;

  32/04/2021-1; 32/04/2021-3; 32/04/2021-4; and 32/04/2021-5.23

             339.          Pursuant to the invoices and parties’ agreement, under said invoices, GO Global

  was required to pay and did pay a total of $1,375,080.00, with any remaining balance to be paid

  upon arrival of the goods at destination.

             340.          GO Global did in fact pay all deposits and payments required under the above

  described Contract.

             341.          V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.


  23
       See Paragraph 40, supra.

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129     FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 77 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 77

           342.            In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.

           343.            V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.

           344.            GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.

           345.            Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:

                     a. Refused to perform its obligations under the Contract;

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;

                     d. Cancelled or refused to honor the Contractsand refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.

           346.            V10’s acts were improper and not permitted under the terms of the Contracts or

  general principles of contract law.




                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 78 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 78

             347.          V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.

             348.          As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.

             WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.

                                                   COUNT XXIII
                                               BREACH OF CONTRACT
                                                    (Against V10)

             349.          GO Global realleges and incorporates by reference Paragraphs 1 through 60 of

  this Complaint as if fully restated herein.

             350.          On or about June 6, 2021, GO Global negotiated the terms of an agreement with

  V10 through emails and telephone conversations.

             351.          In confirmation and acceptance of the parties’ agreement, V10, issued or caused

  to be issued on V10’s behalf and benefit the invoices bearing the numbers 06/06/2021-1;

  06/06/2021-2; 06/06/2021-3; 06/06/2021-4; 06/06/2021-5; 06/06/2021-6; 06/06/2021-7;

  06/06/2021-8; 06/06/2021-9; and 06/06/2021-10.24


  24
       See Paragraph 40, supra.

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 79 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 79

           352.            Pursuant to the invoices and parties’ agreement, under said invoices, GO Global

  was required to pay and did pay a total of $196,560.00, with any remaining balance to be paid

  upon arrival of the goods at destination.

           353.            GO Global did in fact pay all deposits and payments required under the above

  described Contract.

           354.            V10 was obligated to negotiate with GO Global in good faith and was obligated

  under the terms of the Contract described in this Count to deliver to the destination indicated at

  the time promised the goods set forth in the Contract.

           355.            In the Contract described in this Count, V10 assumed the obligations referenced

  in Paragraphs 1 through 60 including but not limited to ultimately delivering containers of frozen

  meat products to GO Global at designated ports in China.

           356.            V10 failed and refused to honor its obligations to GO Global under the Contract

  identified in this Count.

           357.            GO Global fully performed all obligations and condition precedents to be

  performed by GO Global under the Contract identified in this Count.

           358.            Subsequent to the formation of the Contract identified in this Count, while GO

  Global performed all conditions and obligations required of it prior to delivery under said Contract,

  V10:

                     a. Refused to perform its obligations under the Contract;

                     b. Unilaterally, and without agreement of GO Global or additional consideration

  on the part of V10, imposed new, unreasonable, and improper conditions upon GO Global and

  refused to perform its obligations under the Contract unless those new conditions were met;




                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 80 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 80

                     c. Undertook steps that were in violation and anticipatory breaches of its

  obligations under the Contract, such as reselling the products ordered by GO Global to competitors

  of GO Global or to other third parties;

                     d. Cancelled or refused to honor the Contractsand refused to refund payments that

  GO Global had made therefor; or

                     e. Engaged in combinations of part or all of the above.

           359.            V10’s acts were improper and not permitted under the terms of the Contracts or

  general principles of contract law.

           360.            V10 breached the Contract described in this Count by (i) failing to deliver the

  agreed upon products in the quantities, time and manner required and (ii) failing to refund any

  monies to GO Global relating to the failure to deliver.

           361.            As a direct and proximate result of V10’s breaches of the Contracts, GO Global

  has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued charges

  paid to shipping companies; (b) indemnification of losses incurred by GO Global’s customers; (c)

  charges from suppliers as conditions for releasing product; (d) lost opportunity costs; (e) lost

  profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill and reputation;

  (h) demurrage charges; and ( i) reimbursement of customers’ and investors’ losses.

           WHEREFORE, GO Global demands judgment against V10 for compensatory and

  consequential damages, and special damages as set forth above, plus costs, pre-judgment interest

  and post-judgment interest, and such further relief as this Court deems just and proper.



                                 COUNT XXIV
    VIOLATION OF THE FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES
                  ACT, Section 501.201, et seq., Florida Statutes
                        (Against V10, Junior, and Fedele)

                                               Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                   3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 81 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 81



           362.      GO Global realleges and incorporates by reference Paragraphs 1 through 60 of this

  Complaint as if fully restated herein.

           363.      The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”), Section

  501.201, et seq., Florida Statutes, makes unfair methods of competition, unconscionable acts or

  practices, and unfair or deceptive acts or practices, unlawful in the conduct of any trade or

  commerce. See Sec. 501.204, Fla. Stat.

           364.      Section 501.202(2) of FDUTPA establishes among the purposes and objectives of

  FDUTPA: “To protect the consuming public and legitimate business enterprises from those who

  engage in unfair methods of competition, or unconscionable, deceptive, or unfair acts or practices

  in the conduct of any trade or commerce.”

           365.      At all relevant times, GO Global and the V10 Defendants were engaged in trade or

  commerce as defined in Section 501.203(8), Florida Statutes.

           366.      At all relevant times, GO Global was a consumer as defined by Section 501.203(7),

  Florida Statutes.

           367.      The V10 Defendants acted unfairly and deceptively toward GO Global and violated

  FDUTPA as set forth above and, inter alia, in the following ways:

                     a. Perpetuating a scheme, as described in detail hereinabove, in which the V10

  Defendants connived to induce GO Global to order products through false representations and

  false assurances;

                     b. Inducing GO Global, based on false pretenses, to pay tens of millions of dollars

  for products the V10 Defendants had no intention or ability to deliver;




                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129     FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 82 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 82

                     c. Creating a Ponzi scheme, by which the V10 Defendants constantly required GO

  Global to make additional payments for new shipments in order to maintain the façade of its false

  narrative of shipments that V10 was already obligated to deliver;

                     d. Using the payments that GO Global made for the V10 Defendants’ own gain

  and improper purposes, rather than for the purposes for which they had been requested by V10 and

  for which GO Global had made the payments;

                     e. Gaining control of GO Global’s business and funding through artifice, scheme,

  and contrivance;

                     f. Acting with criminal intent and purpose, to the severe detriment of GO Global;

                     g. Causing GO Global to incur substantial and unnecessary harm and expense; and

                     h. Engaging in the other acts and misrepresentations described hereinabove.

           368.      The foregoing unfair acts and conduct of the V10 Defendants and the consequences

  of those acts and conduct have a severe anticompetitive effect and consequently constitute

  consumer harm within the meaning and requirements of FDUTPA.

           369.      The V10 Defendants’ actions were willful, wanton, and malicious.

           370.      The foregoing deceptive and unfair acts and omissions violate Section 501.201, et

  seq., Florida Statutes.

           371.      The foregoing deceptive and unfair acts and omissions by the V10 Defendants

  caused actual damages to GO Global, in an amount to be determined at trial.

           372.      As a direct and proximate result of the V10 Defendants’ FDUTPA violations, GO

  Global has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued

  charges paid to shipping companies; (b) indemnification of losses incurred by GO Global’s

  customers; (c) charges from suppliers as conditions for releasing product; (d) lost opportunity


                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129   FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 83 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 83

  costs; (e) lost profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill

  and reputation; (h) demurrage charges; and ( i) reimbursement of customers’ and investors’

  losses..

             WHEREFORE, GO Global demands entry of a judgment (a) declaring that the V10

  Defendants violated FDUTPA; (b) awarding actual damages in favor of GO Global and against

  the V10 Defendants, jointly and severally, for their violations of FDUTPA pursuant to Section

  501.211(2), Florida Statutes, including, without limitation, past lost profits for the period from

  January 2021 to the present, future lost profits thereafter, disgorgement of all earnings of the V10

  Defendants from the misuse of GO Global’s funds; and (c) such other relief that this Court deems

  just and proper.

                                              COUNT XXV
                                    FRAUD IN THE INDUCEMENT
                                     (Against V10, Junior, and Fedele)

             373.    GO Global realleges and incorporates by reference Paragraphs 1 through 60 of this

  Complaint as if fully restated herein.

             374.    In their continuing and persistent efforts to steal money from GO Global, the V10

  Defendants made repeated false representations of material fact to GO Global including the

  following:

                     a. They represented, in telephone calls, on their website, in written

  communications, and implicitly in their invoices, shipping documents, and related materials, that

  V10 had a favorable and longstanding relationship with suppliers;

                     b. They represented that they could and would fulfill large container orders that

  GO Global placed;




                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129     FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 84 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 84

                     c. They represented in telephone calls, on their website, in written

  communications and implicitly in their invoices, shipping documents, and related materials, that

  they had substantially and materially more experience and industry knowledge than they actually

  had;

                     d. They represented in telephone calls and written communications that all orders

  would be shipped under the terms agreed upon and at the times specified;

                     e. They presented falsified shipping documents to create the impression that

  products were either scheduled to be shipped or were already in transit;

                     f. They represented that V10 could acquire discounted prices in exchange for full

  payment;

                     g. They made arrangements with their suppliers that were inconsistent with the

  orders accepted from GO Global;

                     h. They represented that they had paid the suppliers for GO Global’s pending

  purchases; and

                     i. They represented that they could not ship existing orders unless and until GO

  Global paid additional deposits for future orders.

           375.      The V10 Defendants made these representations in order to obtain additional

  orders, payments, and commitments from GO Global and to induce GO Global to forbear from

  taking any action to cancel pending orders and/or recover monies owed for products ordered but

  not delivered.

           376.      The above material representations were false when they were made and the V10

  Defendants knew they were false and material when they were made.




                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 85 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 85

           377.      The V10 Defendants intended that GO Global would rely on the misrepresentations

  in GO Global agreeing to continue to order products from V10 and to continue to make payments

  and/or deposits on orders, and to refrain from taking any steps to cancel pending orders and to take

  steps to recover payments already made.

           378.      GO Global justifiably and reasonably relied to its detriment upon the V10

  Defendants’ misrepresentations, which were supported through documentation and third parties

  such as IMC, who also relied upon and accepted the truth of the V10 Defendants’ representations,

  in agreeing to continue placing orders with V10 and making the deposits and payments for

  products that would never be shipped to GO Global or its customers.

           379.      As a direct and proximate result of the fraudulent conduct described above, GO

  Global has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued

  charges paid to shipping companies; (b) indemnification of losses incurred by GO Global

  customers; (c) charges from suppliers as conditions for releasing product; (d) lost opportunity

  costs; (e) lost profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill

  and reputation; (h) demurrage charges; and (i) reimbursement of customers’ and investors’ losses.

           380.      The V10 Defendants acted with wanton, willful and malicious disregard for the

  rights of GO Global, knowing that the ongoing deceptions would adversely affect GO Global’s

  ability to continue to serve its customers or to be accepted as a trustworthy business.

           381.      The V10 Defendants knew or should have known that (a) GO Global would suffer

  serious harm from the fraudulent conduct, and (b) the V10 Defendants’ conduct involved a reckless

  disregard of the likelihood of serious harm to GO Global.

           WHEREFORE, GO Global demands judgment against V10, Junior, and Fedele, jointly

  and severally, for compensatory, consequential, special damages, and punitive damages, plus


                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129     FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 86 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 86

  costs, pre-judgment and post-judgment interest, and for such further relief as this Court deems just

  and proper.


                                              COUNT XXVI
                                                FRAUD
                                     (Against V10, Junior, and Fedele)

           382.      GO Global realleges and incorporates by reference Paragraphs 1 through 60 of this

  Complaint as if fully restated herein.

           383.      Once the V10 Defendants had obtained an order from GO Global, continuing to

  perpetuate their frauds and deceptions was critical to the V10 Defendants being able to maintain

  the scam in place, to convince GO Global that existing orders were progressing in due course, and

  to obtain payments of deposits and/or full payments.

           384.      Accordingly, the V10 Defendants engaged in the follow fraudulent conduct

  directed at GO Global.

                     a. They represented in telephone calls and written communications, that all orders

  would be shipped under the terms agreed upon and at the times specified;

                     b. They provided false and altered shipping documents, such as those attached

  hereto as Composite Exhibit “2;”

                     c. They represented that they had paid V10’s suppliers for GO Global’s purchases

  and that the orders were being shipped;

                     d. They represented that V10 could not ship existing orders unless and until GO

  Global paid deposits for future orders;

                     e. They misrepresented the causes of delays and shipping cancellations, falsely

  advising GO Global that logistical issues arising out of Covid and other problems beyond V10’s



                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 87 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 87

  control were the reason for these problems, when in fact, the reasons for the problems were the

  V10 Defendants’ willful failure and refusal to meet the obligations to GO Global;

                     f. They did not order from V10’s suppliers the quantities of goods that GO Global

  had ordered and collected amounts from GO Global for products that Defendants knew it would

  not be ordering or shipping for GO Global;

                     g. They made arrangements with V10’s suppliers that were inconsistent with the

  orders accepted from GO Global; and

                     h. They engaged in the other fraudulent conduct described hereinabove.

           385.      The above material representations were false when they were made and the V10

  Defendants knew they were false when they were made.

           386.      The V10 Defendants intended that GO Global would rely on the misrepresentations

  in GO Global agreeing to make payments and/or deposits on orders, and to refrain from taking any

  steps to cancel pending orders and to take steps to recover payments already made.

           387.      GO Global justifiably and reasonably relied to its detriment upon the V10

  Defendants’ misrepresentations, which were supported through documentation and third parties

  such as IMC, who also relied upon and accepted the truth of the V10 Defendants’ representations,

  by continuing to place orders with V10 and making the deposits and payments for products that

  would never be shipped to GO Global or its customers.

           388.      As a direct and proximate result of the fraudulent conduct described above, GO

  Global has suffered damages as set forth in Exhibit 1 and special damages including (a) accrued

  charges paid to shipping companies; (b) indemnification of losses incurred by GO Global

  customers; (c) charges from suppliers as conditions for releasing product; (d) lost opportunity




                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 88 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 88

  costs; (e) lost profits; (f) the inability to engage in future business endeavors; (g) loss of goodwill

  and reputation; (h) demurrage charges; and (i) reimbursement of customers’ and investors’ losses.

           389.      The V10 Defendants acted with wanton, willful and malicious disregard for the

  rights of GO Global, knowing that the ongoing deceptions would adversely affect GO Global’s

  ability to continue to serve its customers or to be accepted as a trustworthy business.

           390.      The V10 Defendants knew or should have known that (a) GO Global would suffer

  serious harm from the fraudulent conduct, and (b) the V10 Defendants’ conduct involved a reckless

  disregard of the likelihood of serious harm to GO Global.

           WHEREFORE, GO Global demands judgment against V10, Junior, and Fedele, jointly

  and severally, for compensatory, consequential, special damages, and punitive damages, plus

  costs, pre-judgment and post-judgment interest, and for such further relief as this Court deems just

  and proper.


                                  COUNT XXVII
       CIVIL LIABILITY UNDER THE RACKETEER INFLUENCED AND CORRUPT
            ORGANIZATIONS ACT, 18 U.S.C SECTIONS 1961, et seq. (“RICO”)
                          (Against V10, Junior, and Fedele)

           391.      GO Global realleges and incorporates by reference Paragraphs 1 through 60 of this

  Complaint as if fully restated herein.

           392.      GO Global alleges that the V10 Defendants’ conduct, and the conduct of each of

  them, constitutes racketeering as set forth in 18 U.S.C. Section 1964(c). Specifically, Congress has

  defined “racketeering” to include, among other things, any act which is indictable under Section

  1343 (relating to wire fraud or committing fraud by means of electronic transmissions over wire).

  The V10 Defendants here engaged in multiple instances of wire fraud, including, but not limited

  to emailing falsified shipping documentation to GO Global; emailing and texting GO Global with


                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129     FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 89 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 89

  false representations as to the costs, shipping requirements, payment obligations, and status of

  purchases and shipments; emailing and texting demands and messages to secure from GO Global

  payments for cargo not acquired by V10 and never to be acquired by V10; emailing and texting

  demands and messages to GO Global to obtain payment for cargo that the V10 Defendants had

  resold to other customers; and demanding deposit payments from GO Global as an unlawful

  condition and an extortionate demand as a condition to sending shipments to GO Global that V10

  was lawfully required to ship with no further legal obligation on GO Global’s part. As detailed

  below, GO Global alleges multiple acts comprising the V10 Defendants’ racketeering conduct and

  giving rise to this action for federal RICO violations. In summary, Section 1962(c) provides relief

  against parties who engage in a pattern of racketeering activity, Section 1962(a) provides relief

  against parties who use income generated through a pattern of racketeering activity, and Section

  1962(d) provides relief against those who conspire to violate the racketeering laws. The V10

  Defendants are liable to GO Global under each of these three sections of the statute.

           393.      18 U.S.C. Section 1964(c) allows “any person injured in his business or property

  by reason of a violation of section 1962 of this chapter” to “sue therefor in any appropriate United

  States district court and shall recover threefold the damages he sustains and the cost of the suit,

  including a reasonable attorney’s fee ….”

           394.      18 U.S.C. Section 1962(c) makes it “unlawful for any person employed by or

  associated with any enterprise engaged in, or the activities of which affect, interstate or foreign

  commerce, to conduct or participate, directly or indirectly, in the conduct of such enterprise’s

  affairs through a pattern of racketeering activity . . . ”




                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129   FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 90 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 90

           395.      Each of the V10 Defendants, at all relevant times, is and has been a “person” within

  the meaning of 18 U.S.C. Section 1961(3) because each V10 Defendant is capable of holding, and

  does hold, “a legal or beneficial interest in property.”

           396.      The V10 Defendants’ activities include at least two acts of racketeering activity

  since January 2021. Accordingly, Defendants’ conduct constitutes a “pattern” of racketeering

  activity. 18 U.S.C. § 1961(5).

           397.      Among the wire frauds that occurred are the following:

                     a. On or about July 27, 2021, V10, through Junior, Fedele, and their representative

  Carol Camargo, sent to GO Global through an internet texting application the documents attached

  as Composite Exhibit “3.” V10, through Junior, Fedele, and their representative Carol Camargo,

  had repeatedly been making excuses for the fact that product had not been released notwithstanding

  GO Global’s payments therefore. They had falsely represented, among other things, that the

  ongoing delays were the result of Covid 19 as suppliers and shipping lines were facing staff

  shortages.

                     b. In a letter dated August 17, 2021, which Junior sent to GO Global through the

  internet via a text application, attached hereto as Exhibit “4,” Junior and V10 falsely represented:

                            (i) That V10 had fully paid all amounts due to its supplier for specified

  cargo;

                            (ii) That delays in the releases of containers had been caused by a force

  majeure situation (Covid 19) causing a shortage of staff with the suppliers and shipping lines;

                            (iii) That Copacol, one of the major suppliers, had not been loading

  sufficient quantities cargo and had fallen behind in orders, and finally in July were beginning to

  do so more aggressively


                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129      FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 91 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 91

                            (iv) That the releases were subject to the “ocean line final release.”

                      c. In an email attached hereto as Exhibit “5,” sent over wire by V10 from Florida,

   V10 misrepresents that it had placed orders that it had not placed, falsely blames the supplier for

   delays in shipment, and urges additional payments from GO Global.

           398.      There were many other such acts constituting wire fraud that the V10 Defendants

  engaged in continuously and as an ongoing practice and scheme between January and August

  2021.

           399.      At all times relevant hereto, beginning in or around January 2021 and continuing

  through the termination of the relationship between V10 and GO Global, each of the V10

  Defendants conducted and participated in the affairs of an enterprise through a pattern of

  racketeering activity, in violation of 18 U.S.C. Section 1962(c).

           400.      In or around January 2021, the V10 Defendants formed an association-in-fact

  Enterprise, as defined in 18 U.S.C. Section 1961(4), described herein as the “V10 Enterprise,”

  within the meaning of 18 U.S.C. § 1961(4).

           401.      The V10 Enterprise consists of a group of “persons” associated together for the

  common purpose of intentionally and willfully defrauding GO Global by creating and conducting

  a scheme to fraudulently act as an international commodities distributor.

           402.      The V10 Enterprise was, at all times material hereto, an ongoing organization that

  functioned as a continuing unit and is still extant, though its current activities are unknown to GO

  Global. The V10 Enterprise was created and used as a tool to effectuate the V10 Defendants’

  pattern of racketeering activity.




                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129       FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 92 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 92

           403.      All of the V10 Defendants agreed to and did conduct and participate in the conduct

  of the V10 Enterprise’s affairs through a pattern of racketeering activity including wire fraud as

  defined by 18 U.S.C. Section 1343, for the unlawful purpose of intentionally defrauding Plaintiff.

           404.      The wire fraud committed by the V10 Defendants is based on a scheme developed

  and carried out by the V10 Enterprise wherein Junior and Fedele electronically created and

  distributed falsified shipping records, (using interstate wires); sent messages with false pricing

  (using interstate wires); demanded payment for future orders as a condition to ship orders already

  paid for (using interstate wires); all with the illegal purpose of stealing funds from GO Global,

  providing nothing in return.

           405.      GO Global was deceived by these fraudulent communications, which continued at

  least from January through August, 2021.

           406.      The V10 Defendants, and each one of them, had a duty to disclose to GO Global

  the true and accurate status of each order and, if V10 was unable or unwilling to complete the

  shipments under the terms promised, to advise GO Global accordingly, to refrain from demanding

  payments, to return payments acquired under false pretenses, and to cease operating under false

  pretenses.

           407.      The V10 Defendants’ acts and omissions, as described in Paragraphs 103 through

  116, were intentional and with full knowledge of all relevant facts by each and all of the V10

  Defendants.

           408.      The V10 Defendants’ acts and omissions, as described in Paragraphs 103 through

  116, were fraudulent.




                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 93 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 93

           409.      The V10 Defendants’ acts and omissions, as described in Paragraphs 103 through

  116, were attempts to unlawfully claim and collect as a debt, moneys that were not properly due

  or owing to V10.

           410.      The V10 Defendants utilized the V10 Enterprise to receive income derived, directly

  or indirectly, from a pattern of racketeering activity or through collection of an unlawful debt in

  which such person has participated as a principal within the meaning of section 2, Title 18, United

  States Code, to use or invest, directly or indirectly, any part of such income, or the proceeds of

  such income, in acquisition of any interest in, or the establishment or operation of, any enterprise

  which is engaged in, or the activities of which affect, interstate or foreign commerce.

           411.      The V10 Defendants utilized the V10 Enterprise to engage in a pattern of

  racketeering activity to acquire or maintain, directly or indirectly, any interest in or control of any

  enterprise which is engaged in, or the activities of which affect, interstate or foreign commerce.

           412.      The V10 Defendants utilized the V10 Enterprise to conduct or participate, directly

  or indirectly, in the conduct of such enterprise’s affairs through a pattern of racketeering activity

  or collection of unlawful debt.

           413.      The V10 Defendants, by their acts and omissions, conspired to violate the

  provisions of subsections (a), (b), or (c) of 18 U.S.C. Section 1962.

           414.      The V10 Defendants used the Internet and other electronic facilities to carry out

  their scheme, to conceal their ongoing fraudulent activities, and to pursue the activities of the V10

  Enterprise.

           415.      At all times discussed herein, the V10 Defendants have been involved in a plan to

  scheme or defraud; have had the intent to defraud and have willfully participated in the scheme to

  defraud with actual knowledge of its fraudulent nature and with specific intent to defraud; and


                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129     FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 94 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 94

  could have reasonably foreseen that interstate wires would be used; and actually used interstate

  wires to further the V10 Defendants’ scheme.

           416.      The V10 Enterprise engaged in and affected interstate commerce by way of said

  wire fraud.

           417.      The wire transmissions described herein were made in furtherance of the V10

  Defendants’ scheme and common course of conduct.

           418.      To achieve their common goals, the V10 Defendants knowingly and willfully

  concealed from the public, V10’s vendors, V10’s agents, governmental authorities, and GO Global

  the unlawfulness of the V10 Defendants’ conduct, which was committed at the instruction of, and

  through the directions of the Individual Defendants.

           419.      As a direct and proximate consequence of the conduct of the V10 Defendants and

  each of them as alleged herein, GO Global has been injured in its business and property, causing

  GO Global to suffer monetary damages in an amount not less than $40 million, said damages to

  be proven at the time of trial. GO Global has suffered the damages as set forth in Exhibit 1 and

  special damages including (a) accrued charges paid to shipping companies; (b) indemnification of

  losses incurred by GO Global customers; (c) charges from suppliers as conditions for releasing

  product; (d) lost opportunity costs; (e) lost profits; (f) the inability to engage in future business

  endeavors; (g) loss of goodwill and reputation; (h) demurrage charges; and ( i) reimbursement of

  customers’ and investors’ losses.

           420.      Because of the V10 Defendants’ violations of 18 U.S.C. Section 1962(c), the V10

  Defendants are liable to GO Global for three times the damages sustained, plus the cost of this

  suit, including reasonable attorneys’ fees, as provided under 18 U.S.C. Section 1964(c).




                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 95 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 95

           WHEREFORE, GO Global demands judgment against V10, Junior and Fedele, jointly

  and severally, for compensatory, consequential, and special damages, treble damages pursuant to

  18 U.S.C. Section 1964(c), plus costs, pre-judgment and post-judgment interest, and for such

  further relief as this Court deems just and proper.

                                             COUNT XXVIII
                           CIVIL REMEDIES FOR CRIMINAL PRACTICES ACT
                                  Sections 772.101 et seq., Florida Statutes
                                      (Against V10, Junior and Fedele)

           421.      GO Global realleges and incorporates by reference Paragraphs 1 through 60 of this

  Complaint as if fully restated herein.

           422.      Chapter 772, Florida Statutes is Florida’s Civil Remedies for Criminal Practices

  Act (the Act”).

           423.      Section 772.103 of the Act provides:

                     Prohibited activities.—It is unlawful for any person:

                   (1) Who has with criminal intent received any proceeds derived, directly
                   or indirectly, from a pattern of criminal activity or through the collection of
                   an unlawful debt to use or invest, whether directly or indirectly, any part of
                   such proceeds, or the proceeds derived from the investment or use thereof,
                   in the acquisition of any title to, or any right, interest, or equity in, real
                   property or in the establishment or operation of any enterprise.

                   (2) Through a pattern of criminal activity or through the collection of an
                   unlawful debt, to acquire or maintain, directly or indirectly, any interest in
                   or control of any enterprise or real property.

                   (3) Employed by, or associated with, any enterprise to conduct or
                   participate, directly or indirectly, in such enterprise through a pattern of
                   criminal activity or the collection of an unlawful debt.

                   (4) To conspire or endeavor to violate any of the provisions of subsection
                   (1), subsection (2), or subsection (3).

           424.      Section 772.104 of the Act provides:



                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129      FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 96 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 96

                   Any person who proves by clear and convincing evidence that he or she has
                   been injured by reason of any violation of the provisions of s. 772.103 shall
                   have a cause of action for threefold the actual damages sustained and, in any
                   such action, is entitled to minimum damages in the amount of $200, and
                   reasonable attorney’s fees and court costs in the trial and appellate courts.

           425.      Section 772.102 of the Act defines “criminal activity,” in pertinent part, as follows:

                   Criminal activity” means to commit, to attempt to commit, to conspire to
                   commit, or to solicit, coerce, or intimidate another person to commit:

                  (a) Any crime that is chargeable by indictment or information under the
                  following provisions:

                                                       …

                           26. Section 836.05, relating to extortion.

           426.      Section 836.05, Florida Statutes, provides:

                   Whoever, either verbally or by a written or printed communication,
                   maliciously threatens to accuse another of any crime or offense, or by such
                   communication maliciously threatens an injury to the person, property
                   or reputation of another, or maliciously threatens to expose another to
                   disgrace, or to expose any secret affecting another, or to impute any
                   deformity or lack of chastity to another, with intent thereby to extort
                   money or any pecuniary advantage whatsoever, or with intent to compel
                   the person so threatened, or any other person, to do any act or refrain
                   from doing any act against his or her will, shall be guilty of a felony of
                   the second degree, punishable as provided in s. 775.082, s. 775.083, or s.
                   775.084.

  (Emphases added).

           427.      As a consequence of the various acts, wrongdoing, frauds, and lies, as summarized

  in Paragraph 43, above, GO Global was facing existential problems by the summer of 2021. GO

  Global’s customers were demanding the products for which they had paid in part or full. GO

  Global had paid millions of dollars to V10 in compliance with its obligations under each of the

  transactions it had with V10. But V10 was not completing any of the shipments.




                                              Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                  3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129     FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 97 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 97

           428.      The V10 Defendants’ verbal, written, and printed communications constitute

  malicious threats of an injury to the property and reputation of GO Global and threats to expose

  GO Global to disgrace, with the intent thereby of the V10 Defendants to wrongfully obtain GO

  Global’s money and to gain pecuniary advantage over GO Global, with the intent to compel GO

  Global pay moneys not owed against its will.

           429.      The V10 Defendants have thus violated Section 836.05, Florida Statutes, and

  therefore have engaged in a pattern of criminal activity, as that term is defined in Section 772. 102,

  Florida Statutes.

           430.      In the course of this pattern of criminal activity, the V10 Defendants have acted in

  violation of Section 772.103, Florida Statutes.

           431.      As a direct and proximate result of the V10 Defendants’ conduct in this pattern of

  criminal activity, GO Global has been damaged.

           432.      GO Global is entitled to recover and hereby demands recovery from the V10

  Defendants threefold the damages that GO Global has sustained from the V10 Defendants’

  criminal activities.

           433.      GO Global’s damages include, but are not limited to, the additional payments it

  paid to V10 under the threats made, all deposits and payments made for shipments not received,

  damages to GO Global’s reputation and loss of goodwill, costs of this action, and all such other

  damages as it may prove to have sustained and that are compensable under Chapter 772, Florida

  Statutes.

           WHEREFORE, GO Global demands judgment against V10, Junior and Fedele, jointly

  and severally, for compensatory, consequential, special damages, and punitive damages, plus




                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129      FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 98 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 98

  costs, pre-judgment and post-judgment interest, and for such further relief as this Court deems just

  and proper.


                                              COUNT XXIX
                                       BUSINESS DEFAMATION
                                      (Against V10, Junior and Fedele)

           434.      GO Global realleges and incorporates by reference Paragraphs 1 through 60 of this

  Complaint as if fully restated herein.

           435.      Between August 2020 and the present, the V10 Defendants have engaged in a

  course of conduct designed to damage GO Global’s reputation in the industry.

           436.      The V10 Defendants have communicated with suppliers, governments agencies,

  GO Global’s customers, other potential customers, vendors, agents and brokers, and other persons

  integral to GO Global’s industry and have disparaged GO Global with false and defamatory

  statements, blaming GO Global for the V10 Defendants’ shipping failures and breaches.

           437.      Specifically:

                     a. Between May 2021 and the present, the V10 Defendants have falsely

  represented to suppliers, vendors and other persons in GO Global’s industry that GO Global does

  not pay its accounts on time or in the correct amounts;

                     b. Between May 2021 and the present, the V10 Defendants have falsely

  represented to suppliers, vendors, and to the public at large that GO Global has failed to pay for

  orders made and shipped; and

                     c. Between May 2021 and the present, the V10 Defendants have falsely

  represented to suppliers, vendors, and to the public at large, that GO Global and one or more of its

  principals have been engaging in or attempting to engage in frauds and illegal acts to divest its

  customers of money for wrongful pecuniary gain.

                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 99 of 105
  Complaint
  GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
  Page 99

           438.      As a direct and proximate result of the false and defamatory statements described

  above, GO Global has suffered damages and special damages including (a) lost opportunity costs;

  (b) lost profits; (c) the inability to engage in future business endeavors; (d) loss of goodwill and

  reputation; (e) demurrage charges; and (f) reimbursement of customers’ and investors’ losses.

           439.      The above statements published by the Individual Defendants, individually and on

  behalf of Defendant, V10, expressly referred to GO Global and were so understood by GO

  Global’s vendors, customers, and others in GO Global’s industry.

           440.      The above-described statements concerning GO Global were false, reckless,

  willful, malicious and slanderous.

           441.      The Individual Defendants, individually and on behalf of Defendant, V10, made

  the defamatory statements with the express intent of discrediting GO Global and injuring its

  business reputation, and with knowledge that the statements were false or in reckless disregard of

  whether or not they were false.

           442.      The statements constitute libel “per se” in that they expressly or impliedly impute

  to GO Global the commission of crimes, a lack of fitness or honesty in the performance of its

  business activities , and also subject GO Global and its principals to distrust, ridicule, contempt

  and disgrace.

           443.      The Individual Defendants’ actions, individually and on behalf of Defendant, V10,

  in knowingly publishing the false statements were intentional and done with express and implied

  malice. The Individual Defendants knew or should have known that such statements were false

  when they made them, or failed to exercise reasonable care in verifying the truth or falsity of such

  statements before transmitting these statements, or recklessly disregarded the truth or falsity of the

  statements. Nonetheless, the Individual Defendants, individually and on behalf of Defendant, V10,


                                            Marko & Magolnick, P.A.
  TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129     FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 100 of 105
   Complaint
   GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
   Page 100

   made such false statements recklessly and in conscious disregard of the truth. Further, the

   Individual Defendants, individually and on behalf of Defendant, V10, committed such acts

   maliciously and fraudulently, with ill will and an evil intent to defame and injure GO Global.

            444.      The V10 Defendants acted with wanton, willful and malicious disregard for the

   rights of GO Global, knowing that their false and defamatory statements would adversely affect

   GO Global’s ability to continue to serve its customers or to be accepted as a trustworthy business.

            445.      The V10 Defendants knew or should have known that (a) GO Global would suffer

   serious harm from their defamatory statements, and (b) the V10 Defendants’ conduct involved a

   reckless disregard of the likelihood of serious harm to GO Global.

            WHEREFORE, GO Global demands judgment against DefendantsV10, Junior and

    Fedele, jointly and severally, for compensatory, consequential, special damages, and punitive

    damages, plus costs, pre-judgment and post-judgment interest, and for such further relief as this

    Court deems just and proper.

                                    COUNT XXX
                   REMEDIES UNDER THE UNITED NATIONS CONVENTION
                 ON CONTRACTS FOR THE INTERNATIONAL SALE OF GOODS
                                    (Against V10)

            446.      GO Global realleges and incorporates by reference Paragraphs 1 through 60 of this

   Complaint as if fully restated herein.

            447.      This is an action for remedies afforded to a buyer under the United Nations

   Convention on Contracts for the International Sale of Goods ("U.N. Convention").

            448.      The U. N. Convention is a treaty adopted by the United States on December 11,

   1986, with an effective date of January 1, 1988. The Convention is found as Appendix to Title 15

   of the United States Code.



                                             Marko & Magolnick, P.A.
   TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 101 of 105
   Complaint
   GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
   Page 101

            449.      Hong Kong and the United States, the domiciles of GO Global and V10,

   respectively, are both signatories to the U.N. Convention.

            450.      As set forth in the U.N. Convention, V10 assumed the obligations which reasonably

   and objectively emanated from their express Contracts with GO Global and from the incidental

   effects of their Contracts.

            451.      Under the U. N. Convention, the Contracts have been avoided and cannot be

   practically completed at this time in any event.

            452.      V10, as seller under the Contracts with GO Global, has breached the Contracts GO

   Global and is in default thereunder.

            453.      GO Global has sustained damages as a direct and proximate result of V10’s non-

   performances and breaches.

            454.      Under the U.N. Convention, GO Global is entitled to damages in a sum equal to the

   buyer’s loss, including loss of profits that the buyer suffered as a consequence of the breach.

            455.      Under the U.N. Convention, GO Global is entitled to recover its attorneys’ fees in

   pursuing remedies against V10 for its breaches.

            WHEREFORE, GO Global demands judgment against V10 for damages as allowed under

   the U.N. Convention, including all payments and deposits made, lost profits, attorneys’ fees, costs,

   pre-judgment interest and post-judgment interest, and such further relief as this Court deems just

   and proper.




                                             Marko & Magolnick, P.A.
   TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 102 of 105
   Complaint
   GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
   Page 102

                                             COUNT XXXI
                            INTERFERENCE WITH BUSINESS RELATIONSHIPS
                                     (Against V10, Junior and Fedele)

            456.      GO Global realleges and incorporates by reference Paragraphs 1 through 60 and

   Paragraphs 149 through 154 of this Complaint as if fully restated herein.

            457.      GO Global has, and at all times material hereto had, legitimate and protectable

   interests in its business relationships with its customers.

            458.      Among others, GO Global had ongoing and commercial valuable business

   relationships with the following customers:

                      a. Guangzhou De YaoHang

                      b. Minka Trading Limited

                      c. Qingdao New Bizoe

                      d. Guangzhou Xingchang

                      e. Shanghai Dayun

                      f. Guangzhou Tianji Foods

                      g. Jia Deye

                      h. Guangzhou Henfeng Yi Co. Ltd.

                      i. ShangHai QiLong International Trading company,Ltd

                      j. Nizhao sheng

                      k. Shandong Weijia Foods Co. Ltd.

                      l. Guangzhou Xianrensen

                      m. Shenzhen Bomeishen Co. Ltd.

                      n. Shenzhen Optimize Group




                                             Marko & Magolnick, P.A.
   TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129   FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 103 of 105
   Complaint
   GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
   Page 103

             459.     At all relevant times, the V10 Defendants were aware that GO Global had ongoing

   legitimate and protectable interests in its business relationships with the above identified customers

   and others.

             460.     At all relevant times, the V10 Defendants were aware that GO Global was placing

   orders with V10 on behalf of the above identified customers and that GO Global was advancing

   money to V10 that these customers had paid to GO Global for the purpose of covering the costs

   of deposits and relating shipping costs.

             461.     At all relevant times, the V10 Defendants were aware, and GO Global constantly

   reminded the V10 Defendants, that these customers were relying upon the timely shipment of the

   frozen meat products ordered. In addition, GO Global constantly made the V10 Defendants aware

   that GO Global’s business with these customers depended on the competent fulfillment of the

   orders.

             462.     At all relevant times, the V10 Defendants knew, or should have known, that their

   retention of the amounts that GO Global paid and their ongoing misrepresentations as to the status

   of the shipments and the orders would detriment GO Global and would impair or would destroy

   GO Global’s relationships with the above identified customers.

             463.     As a direct consequence of the conduct described herein, the V10 Defendants,

   without a legal right to do so, have tortiously, intentionally and maliciously interfered with GO

   Global’s legitimate and protectable interests in its business relationships with its customers and

   others.

             464.     As a direct and proximate result of the V10 Defendants’ tortious interference with

   GO Global’s legitimate and protectable interests in its business relationships with its customers

   and others, GO Global has suffered damages, in an amount to be proven at trial.


                                             Marko & Magolnick, P.A.
   TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129    FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 104 of 105
   Complaint
   GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
   Page 104

            WHEREFORE, GO Global demands judgment against Defendants, jointly and severally,

   for compensatory, consequential, special damages, and punitive damages, plus costs, pre-judgment

   and post-judgment interest, and for such further relief as this Court deems just and proper.

                                             COUNT XXXII
                                     FRAUDULENT CONVEYANCE
                             (Against V10 Defendants and John Does 1, 2, and 3)

            465.      GO Global realleges and incorporates by reference Paragraphs 1 through 60 of this

   Complaint as if fully restated herein.

            466.      GO Global advanced funds to V10 for the future payment on goods to be provided

   and it is therefore a creditor for purposes of the Florida Uniform Fraudulent Transfer Act, Sections,

   726.102(4) and (5), Florida Statutes.

            467.      The V10 Defendants failed and refused to return said funds to GO Global upon

   cancellation of the Contracts between V10 and GO Global. Instead, the V10 Defendants

   transferred the funds to John Does 1, 2 and 3 for no consideration and for the purpose of concealing

   said money and denying GO Global its rightful property.

            468.      Upon the transfer of the funds, V10 lacked sufficient funds to continue its

   operations and to pay GO Global the amounts due to it.

            469.      The V10 Defendants transferred the funds to John Does 1, 2 and 3 with the actual

   intent to hinder, delay, or defraud its creditors, including GO Global.

            470.      The transfer of the funds to John Does 1, 2, and 3 was for the benefit of insiders,

   including Junior and Fedele, who retained control and possession of the property after it was

   transferred.

            471.      John Does 1, 2, and 3, as transferees, did not take the funds in good faith and did

   not exchange consideration of a reasonably equivalent value.


                                             Marko & Magolnick, P.A.
   TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129     FACSIMILE 305/285-5555
Case 0:22-cv-61003-RS Document 1 Entered on FLSD Docket 05/26/2022 Page 105 of 105
   Complaint
   GO Global Trading & Consulting, Ltd. v. V10 Global Logistics & Trading Corp.
   Page 105

            472.      The V10 Defendants' transfer of the funds constituted a fraudulent transfer in

   violation of Sections 726.105(1)(a), 726.105(1)(B), 726.106(1), Florida Statutes.

            473.      GO Global was harmed by the fraudulent transfer of the funds, and it is entitled to

   the relief provided by Section 726.108 Florida Statutes.

            WHEREFORE, GO Global requests this Court enter a judgment in its favor and against

   all Defendants for the remedies set forth in Section 726.108, Florida Statutes, for the full amount

   due and owing it for all payments and deposits not returned by V10, pre-judgment interest, costs,

   along with any such other and further relief as this Court deems just and proper.

                                       DEMAND FOR JURY TRIAL

            GO Global requests a trial by jury on all issues so triable.



   Dated this 25th day of May, 2022.




                                             Marko & Magolnick, P.A.
   TELEPHONE 305/285-2000                3001 S.W. 3RD AVENUE, MIAMI, FLORIDA 33129     FACSIMILE 305/285-5555
